                 Case 23-10597-BLS              Doc 293       Filed 08/25/23        Page 1 of 60




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

    In re:

    Desolation Holdings LLC, et al.1                                 Case No. 23-10597 (BLS)

             Debtors.                                                (Jointly Administered)


                     JOINT CHAPTER 11 PLAN OF LIQUIDATION
             OF DESOLATION HOLDINGS LLC AND ITS AFFILIATED DEBTORS

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Dated: August 25, 2023

1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
     number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
     Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
     WA 98104.
                     Case 23-10597-BLS                         Doc 293             Filed 08/25/23                 Page 2 of 60




                                                        TABLE OF CONTENTS
                                                                                                                                                        Page

INTRODUCTION ........................................................................................................................................ 5
ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF
             TIME, AND GOVERNING LAW ..................................................................................... 5
           A.          Defined Terms. ................................................................................................................... 5
           B.          Rules of Interpretation. ..................................................................................................... 16
           C.          Computation of Time. ....................................................................................................... 17
           D.          Governing Law. ................................................................................................................ 17
           E.          Reference to Monetary Figures. ........................................................................................ 17
           F.          Conflicts. ........................................................................................................................... 17
ARTICLE II. ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS, AND DIP LOAN
             CLAIMS ........................................................................................................................... 18
           A.          Administrative Claims. ..................................................................................................... 18
           B.          Priority Tax Claims. .......................................................................................................... 20
           C.          DIP Loan Claims. ............................................................................................................. 20
           D.          Statutory Fees. .................................................................................................................. 21
ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS .................... 21
           A.          Classification in General. .................................................................................................. 21
           B.          Grouping of Debtors for Convenience Only. .................................................................... 21
           C.          Classification of Claims and Interests............................................................................... 21
           D.          Treatment of Claims and Interests. ................................................................................... 22
           E.          Special Provision Governing Unimpaired Claims. ........................................................... 24
           F.          Elimination of Vacant Classes. ......................................................................................... 24
           G.          Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
                       Code. ................................................................................................................................. 24
           H.          Voting Classes; Presumed Acceptance by Non-Voting Classes. ...................................... 25
           I.          Presumed Acceptance and Rejection of the Plan. ............................................................. 25
           J.          Controversy Concerning Impairment. .............................................................................. 25
           K.          Subordinated Claims and Interests.................................................................................... 25
ARTICLE IV. MEANS FOR IMPLEMENTATION OF THE PLAN ....................................................... 25
           A.          No Substantive Consolidation........................................................................................... 25
           B.          Settlement and Compromise. ............................................................................................ 26
           C.          Liquidation of the Debtors. ............................................................................................... 26
           D.          Settlement of Claims After the Effective Date. ................................................................ 32



                                                                              i
                  Case 23-10597-BLS                        Doc 293             Filed 08/25/23                 Page 3 of 60



          E.        Sources of Consideration for Plan Distributions............................................................... 32
          F.        Cancellation of Certain Existing Securities and the DIP Loan Agreement. ..................... 33
          G.        Release of Liens. ............................................................................................................... 33
          H.        Corporate Action............................................................................................................... 33
          I.        Effectuating Documents; Further Transactions. ............................................................... 34
          J.        Section 1146 Exemption. .................................................................................................. 34
          K.        Preservation of Causes of Action. ..................................................................................... 34
          L.        Payment of Certain Fees. .................................................................................................. 35
          M.        Document Retention. ........................................................................................................ 35
          N.        Closing of Chapter 11 Cases. ............................................................................................ 35
          O.        Notice of Effective Date. .................................................................................................. 36
          P.        Separability. ...................................................................................................................... 36
ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ............. 36
          A.        Rejection of Executory Contracts and Unexpired Leases. ................................................ 36
          B.        Claims Based on Rejection of Executory Contracts or Unexpired Leases. ...................... 36
          C.        Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. ................... 37
          D.        Preexisting Obligations to the Debtors under Executory Contracts and Unexpired
                    Leases. .............................................................................................................................. 38
          E.        Indemnification Obligations. ............................................................................................ 38
          F.        Insurance Policies. ............................................................................................................ 38
          G.        Modifications, Amendments, Supplements, Restatements, or Other Agreements. .......... 39
          H.        Reservation of Rights........................................................................................................ 39
          I.        Nonoccurrence of Effective Date...................................................................................... 39
ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS ............................................................. 40
          A.        Timing and Calculation of Amounts to Be Distributed. ................................................... 40
          B.        Delivery of Distributions and Undeliverable or Unclaimed Distributions. ...................... 40
          C.        Special Rules for Distributions to Holders of Disputed Claims and Interests. ................. 41
          D.        Manner of Payment. .......................................................................................................... 42
          E.        Compliance with Tax Requirements. ................................................................................ 42
          F.        Setoffs and Recoupment. .................................................................................................. 42
          G.        No Double Payment of Claims. ........................................................................................ 43
          H.        Claims Paid or Payable by Third Parties. ......................................................................... 43
          I.        Allocation of Distributions Between Principal and Interest. ............................................ 44
ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
             DISPUTED CLAIMS ....................................................................................................... 44



                                                                          ii
                   Case 23-10597-BLS                        Doc 293             Filed 08/25/23                 Page 4 of 60



          A.         Allowance of Claims. ....................................................................................................... 44
          B.         Claims Administration Responsibilities. .......................................................................... 44
          C.         Adjustment to Claims Without Objection......................................................................... 44
          D.         Time to File Objections to Claims or Interests. ................................................................ 44
          E.         Estimation of Claims. ....................................................................................................... 45
          F.         Disputed and Contingent Claims Reserve. ....................................................................... 45
          G.         Disallowance of Claims. ................................................................................................... 45
          H.         Amendments to Proofs of Claim....................................................................................... 46
          I.         Reimbursement or Contribution. ...................................................................................... 46
          J.         No Distributions Pending Allowance. .............................................................................. 46
          K.         Distributions After Allowance. ......................................................................................... 46
ARTICLE VIII. RELEASES, INJUNCTION, EXCULPATION, AND RELATED PROVISIONS ........ 47
          A.         Releases by the Debtors. ................................................................................................... 47
          B.         Releases by Holders of Claims and Interests. ................................................................... 47
          C.         Waiver of Statutory Limitations on Releases ................................................................... 48
          D.         Exculpation. ...................................................................................................................... 48
          E.         Injunction. ......................................................................................................................... 49
          F.         Recoupment. ..................................................................................................................... 51
          G.         Binding Effect. .................................................................................................................. 51
ARTICLE IX. CONDITIONS PRECEDENT TO CONFIRMATION AND CONSUMMATION
             OF THE PLAN ................................................................................................................. 51
          A.         Conditions Precedent to Confirmation.............................................................................. 51
          B.         Conditions Precedent to the Effective Date. ..................................................................... 52
          C.         Waiver of Conditions. ....................................................................................................... 52
          D.         Substantial Consummation. .............................................................................................. 53
          E.         Effect of Failure of Conditions. ........................................................................................ 53
ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN ...................... 53
          A.         Modification and Amendments......................................................................................... 53
          B.         Effect of Confirmation on Modifications. ........................................................................ 53
          C.         Revocation or Withdrawal of Plan. ................................................................................... 53
ARTICLE XI. RETENTION OF JURISDICTION .................................................................................... 54
ARTICLE XII. MISCELLANEOUS PROVISIONS ................................................................................. 56
          A.         Immediate Binding Effect. ................................................................................................ 56
          B.         Additional Documents. ..................................................................................................... 56
          C.         Payment of Statutory Fees. ............................................................................................... 56


                                                                          iii
     Case 23-10597-BLS                       Doc 293             Filed 08/25/23                 Page 5 of 60



D.    Reservation of Rights........................................................................................................ 57
E.    Successors and Assigns. ................................................................................................... 57
F.    Notices. ............................................................................................................................. 57
G.    Term of Injunctions or Stays............................................................................................. 58
H.    Entire Agreement. ............................................................................................................. 58
I.    Exhibits. ............................................................................................................................ 58
J.    Nonseverability of Plan Provisions. .................................................................................. 58
K.    Votes Solicited in Good Faith. .......................................................................................... 58
L.    Waiver or Estoppel. .......................................................................................................... 59
M.    Closing of Chapter 11 Cases. ............................................................................................ 59
N.    Creditor Default. ............................................................................................................... 59




                                                            iv
              Case 23-10597-BLS          Doc 293     Filed 08/25/23      Page 6 of 60




                                        INTRODUCTION

        Desolation Holdings LLC (“Desolation”), Bittrex, Inc. (“BUS”), Bittrex Malta Ltd.
(“Malta OpCo”), and Bittrex Malta Holdings Ltd. (“Malta Holdings”) as debtors and debtors in
possession (collectively, the “Debtors”), propose this joint chapter 11 plan of liquidation (the
“Plan”) for the resolution of the outstanding Claims against, and Interests in, the Debtors.
Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to them
in Article I.A of the Plan. Holders of Claims and Interests should refer to the Disclosure Statement
for a discussion of the Debtors’ history, business, assets, results of operations, historical financial
information, events during the Chapter 11 Cases, and projections, as well as a summary and
description of the Plan and certain related matters. The Debtors are the proponents of the Plan
within the meaning of section 1129 of the Bankruptcy Code.

      ALL HOLDERS OF CLAIMS ENTITLED TO VOTE TO ACCEPT OR REJECT
THE PLAN ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE
PLAN.

                                  ARTICLE I.
                   DEFINED TERMS, RULES OF INTERPRETATION,
                   COMPUTATION OF TIME, AND GOVERNING LAW

A.     Defined Terms.

        As used in the Plan, capitalized terms have the meanings set forth in the Introduction above
or in the definitions below.

       1.      “341 Notice” means the notice of chapter 11 bankruptcy case filed in the Chapter
11 Cases at D.I. 52.

       2.      “503(b)(9) Claim” means a Claim or any portion thereof entitled to administrative
expense priority pursuant to section 503(b)(9) of the Bankruptcy Code.

       3.       “Administrative Claim” means a Claim for costs and expenses of administration of
the Estates or the Chapter 11 Cases under sections 503(b) (including 503(b)(9) Claims), 507(b),
or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and expenses
incurred after the Petition Date through the Effective Date of preserving the Estates and operating
the business of the Debtors; (b) Allowed Professional Fee Claims; and (c) all fees and charges
assessed against the Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§
1911–1930.

        4.      “Administrative Claims Bar Date” means the final deadline for Filing requests for
payment of Administrative Claims, which: (a) with respect to General Administrative Claims other
than those that were accrued in the ordinary course of business, shall be 30 days after the Effective
Date; and (b) with respect to Professional Fee Claims, shall be 60 days after the Effective Date.

       5.      “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.
              Case 23-10597-BLS         Doc 293       Filed 08/25/23    Page 7 of 60




        6.      “Allowed” means, with respect to any Claim or Interest, except as otherwise
provided herein: (a) a Claim or Interest in a liquidated amount as to which no objection has been
Filed prior to the applicable Claims Objection Deadline and that is evidenced by a Proof of Claim
or Interest, as applicable, timely Filed by the applicable Bar Date or that is not required to be
evidenced by a Filed Proof of Claim or Interest, as applicable, under the Plan, the Bankruptcy
Code, or a Final Order; (b) a Claim or Interest that is scheduled by the Debtors as neither Disputed,
contingent, nor unliquidated, and for which no Proof of Claim or Interest, as applicable, has been
timely Filed in an unliquidated or a different amount; (c) a Claim or Interest that is upheld or
otherwise Allowed (i) pursuant to the Plan; (ii) in any stipulation that is approved by the
Bankruptcy Court; (iii) pursuant to any contract, instrument, indenture, or other agreement entered
into or assumed in connection herewith; or (iv) by Final Order (including any such Claim to which
the Debtors had objected or which the Bankruptcy Court had Disallowed prior to such Final
Order); provided that with respect to a Claim or Interest described in clauses (a) through (c) above,
such Claim or Interest shall be considered Allowed only if and to the extent that with respect to
such Claim or Interest no objection to the allowance thereof has been or, in the Debtors’ or Plan
Administrator’s reasonable good faith judgment, may be interposed within the applicable period
of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court,
or such an objection is so interposed and the Claim or Interest, as applicable, shall have been
Allowed by a Final Order; provided, further, that no Claim of any Entity subject to section 502(d)
of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the
amount that it owes such Debtor or the Wind Down Entity, as applicable. Any Claim that has been
or is hereafter listed in the Schedules as contingent, unliquidated, or Disputed, and for which no
Proof of Claim or Interest is or has been timely Filed, is not considered Allowed and shall be
deemed expunged without further action by the Debtors and without further notice to any party or
action, approval, or order of the Bankruptcy Court. For the avoidance of doubt a Proof of Claim
or Interest Filed after the Bar Date shall not be Allowed for any purposes whatsoever absent entry
of a Final Order allowing such late-Filed Claim. “Allow,” “Allowing,” and “Allowance” shall have
correlative meanings.

        7.     “Asset” means all of the rights, title, and interests of a Debtor in, and to property,
whatever type or nature, including, without limitation, real, personal, mixed, intellectual, tangible,
and intangible property.

       8.     “Assumption Schedule” means the list, compiled by the Debtors, as applicable, of
executory contracts and unexpired leases (with proposed cure amounts) that will be assumed by
the Debtors, which list shall be included in the Plan Supplement.

        9.    “Avoidance Actions” means any and all actual or potential Claims and Causes of
Action to avoid a transfer of property or an obligation incurred by the Debtors arising under the
Bankruptcy Code, including sections 502, 510, 542, 544, 545, 547, 548, 549, 550, 551, 552, and
553 of the Bankruptcy Code or under similar or related state or federal statutes and common law.

        10.     “Ballot” means the ballot applicable to the relevant Holder of a Claim, substantially
in the form attached to the Disclosure Statement Order.

       11.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–
1532, as amended from time to time.


                                                  6
              Case 23-10597-BLS          Doc 293      Filed 08/25/23     Page 8 of 60




        12.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware or any other court having jurisdiction over the Chapter 11 Cases, including, to the extent
of the withdrawal of any reference under 28 U.S.C. § 157, the United States District Court for the
District of Delaware.

       13.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
promulgated under section 2075 of the Judicial Code and the general, local, and chambers rules of
the Bankruptcy Court.

        14.    “Bar Date” means the applicable date established by which Proofs of Claims and
Interests must be Filed in these Chapter 11 Cases pursuant to Local Bankruptcy Rule 3003-1 and
the 341 Notice, which date is August 31, 2023, except with respect to Proofs of Claims filed by
governmental units and certain other exceptions set forth in the Bar Date Order.

        15.    “Bar Date Order” means the Order Pursuant to 11 U.S.C. §§ 502(b)(9) and 105(a),
Fed. R. Bank. P. 2002, 3003(c)(3), 5005, and 9007, and Local Rules 2002-1(e), 3001-1, and 3003-
1 for Authority to (I) Establish Deadlines for Filing Proofs of Claim, (II) Establish the Form and
Manner of Notice Thereof, and (III) Approve Procedures for Providing Notice of Bar Date (D.I.
107).

       16.     “BUS” has the meaning set forth in the Introduction.

        17.    “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

       18.     “Cash” means the legal tender of the U.S. and equivalents thereof, including bank
deposits, checks, and other similar items.

        19.     “Causes of Action” means any claims, interests, damages, remedies, causes of
action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,
privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable, directly
or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort, law, equity, or
otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and
claims under contracts or for breaches of duties imposed by law; (b) the right to object to or
otherwise contest Claims or Interests; (c) claims pursuant to sections 362, 510, 542, 543, 544
through 551, or 553 of the Bankruptcy Code; and (d) such claims and defenses as fraud, mistake,
duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code.

        20.    “Chapter 11 Cases” means, collectively: (a) when used with reference to a
particular Debtor, the case pending for that Debtor under chapter 11 of the Bankruptcy Code in
the Bankruptcy Court; and (b) when used with reference to all the Debtors, the procedurally
consolidated and jointly administered chapter 11 cases pending for the Debtors in the Bankruptcy
Court.

        21.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code,
against any of the Debtors.


                                                  7
              Case 23-10597-BLS        Doc 293      Filed 08/25/23    Page 9 of 60




        22.    “Claims Objection Deadline” means the later of: (a) the date that is 180 days after
the Effective Date; and (b) such other date as may be fixed by the Bankruptcy Court, after notice
and hearing, upon a motion Filed before the expiration of such deadline.

      23.    “Claims Register” means the official register of Claims maintained by the
Bankruptcy Court.

        24.    “Class” means a category of Claims or Interests as set forth in Article III of the
Plan.

        25.    “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case
Filing system.

      26.     “Confirmation” means the entry of the Confirmation Order on the docket of the
Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

      27.    “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases.

       28.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court to
consider Confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code.

       29.     “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code.

        30.   “Consent Judgment” means the Consent of Defendants filed in the SEC Action (D.I.
53-1 in the SEC Action).

        31.    “Consummation” means the occurrence of the Effective Date.

        32.     “Cryptocurrency” means any digital asset that is not backed by a government. The
term “cryptocurrency” is to be interpreted broadly to include all forms of digital assets, virtual
currency, cryptocurrency, tokens, security tokens, utility tokens and stablecoins. This includes
bitcoin, ether, Peercoin, Vertcoin, any ERC-20 compliant token, any altcoin, and any other
cryptocurrency.

        33.    “Cryptocurrency Transaction” means a pre-petition transaction involving any
transfer by any Entity of Cryptocurrency to the Debtors, whether directly or indirectly.

        34.    “Cure Claim” means a Claim (unless waived or modified by the applicable
counterparty) based upon the Debtors’ defaults on an Executory Contract or Unexpired Lease at
the time such Executory Contract or Unexpired Lease is assumed by the Debtors pursuant to
section 365 of the Bankruptcy Code, other than with respect to a default that is not required to be
cured under section 365(b)(2) of the Bankruptcy Code.

       35.    “Customer” means an Entity that engaged in a Cryptocurrency Transaction with
one or more of the Debtors.



                                                8
               Case 23-10597-BLS       Doc 293       Filed 08/25/23   Page 10 of 60




       36.      “Customer Claim” means a Claim of a Customer arising from a Cryptocurrency
Transaction.

        37.     “Customer Distribution” means the Distribution of like kind Cryptocurrencies to
Holders of Customer Claims by providing access to the Debtors’ platform for withdrawal of 100%
of the amount of Cryptocurrencies associated with such Customer’s account as of the Petition
Date, provided that Customers will be required to pay any fees charged by third parties in
connection with the withdrawal of Cryptocurrencies, provided further that Customer Distribution
are subject to Non-Economic Crypto Distributions, provided further that it may not be possible for
Customers to successfully withdraw Defunct Crypto. For the avoidance of doubt, Customers who
have already withdrawn the full amount of Cryptocurrencies associated with their accounts
pursuant to the Customer Withdrawal Order shall not receive an additional Customer Distribution.

      38.     “Customer Withdrawal Order” means the Order Authorizing the Debtors to Honor
Withdrawal of Cryptocurrency Assets by Customers (D.I. 128).

       39.     “D&O Policy” means any insurance policy that covers, among others, current or
former directors, members, trustees, managers, and officers liability issued at any time to or
providing coverage to the Debtors and all agreements, documents or instruments relating thereto,
including any runoff policies or tail coverage.

         40.    “Debtors” has the meaning set forth in the Introduction.

        41.     “Defunct Crypto” means Cryptocurrencies that no longer exist or have been
delisted.

       42.     “DIP Lender” means Aquila Holdings, Inc. (or its designee), in its capacity as
lender under the DIP Loan Agreement.

         43.    “DIP Loan Agreement” means the DIP Loan Agreement as defined in the DIP
Order.

       44.    “DIP Loans” means the post-petition financing provided by the DIP Lender on the
terms and conditions set forth in the DIP Order.

       45.    “DIP Loan Claims” means any Administrative Claims arising in connection with
the DIP Loan.

        46.    “DIP Order” means the Final Order: (A) Authorizing the Debtors to Incur Post-
Petition Debt, (B) Granting Super-Priority Administrative Expense Claims, and (C) Granting
Related Relief (D.I. 101), as may be amended, and all other Orders of the Bankruptcy Court
authorizing the Debtors to obtain post-petition financing at any time prior to Confirmation.

        47.    “Disallowed” means, with respect to any Claim, a Claim or any portion thereof that
(a) has been disallowed by a Final Order, including a Final Order, (b) is scheduled as zero or as
contingent, disputed, or unliquidated and as to which no Proof of Claim or request for payment of
an Administrative Claim has been timely filed or deemed timely filed with the Bankruptcy Court
pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court or otherwise


                                                 9
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 11 of 60




deemed timely filed under applicable law or the Plan, (c) is not scheduled and as to which no Proof
of Claim or request for payment of an Administrative Claim has been timely filed or deemed timely
filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the
Bankruptcy Court or otherwise deemed timely filed under applicable law or the Plan, (d) has been
waived or withdrawn by agreement of the applicable Debtor or the Wind Down Entity, as
applicable, and the Holder thereof, or (e) has been waived or withdrawn by the Holder thereof.

        48.    “Disclosure Statement” means the Disclosure Statement for the Amended Joint
Chapter 11 Plan of Liquidation of Desolation Holdings LLC and its Affiliated Debtors, dated as
of [●] (D.I. [●]), as may be amended, including all exhibits and schedules thereto, as approved
pursuant to the Disclosure Statement Order.

        49.    “Disclosure Statement Order” means the Order Approving Disclosure Statement
for the Amended Joint Chapter 11 Plan of Liquidation of Desolation Holdings LLC and its
Affiliated Debtors (D.I. [●]).

        50.    “Disputed” means with regard to any Claim or Interest, a Claim or Interest that is
not yet Disallowed or Allowed.

        51.    “Distribution” means, with respect to Customer Distributions, that a Customer
entitled to a Customer Distribution shall access the Bittrex platform and withdraw
Cryptocurrencies consistent with this Plan and its Allowed Claim. With respect to distributions
other than Customer Distributions, “Distribution” means payment in cash or check.

        52.     “Distribution Date” means, with respect to any Claim or Interest that is Allowed as
of the Effective Date, the date on which Distributions are made pursuant to the Plan, which shall
be on or as soon as reasonably practicable following the Effective Date, provided that to the extent
Claims or Interests will be paid from the proceeds of Cryptocurrencies, rather than in kind
Distributions, such Distributions will occur at such time as the Debtors or Plan Administrator, as
applicable, determines in their sole discretion (as applicable), based on factors the Debtors or the
Plan Administrator determine are appropriate, including the quantity in any transaction, provided
that with respect to any GUC Claim that is Allowed as of the Effective Date, Distributions paid
from the proceeds of Cryptocurrencies shall not be paid on a date that is later than six months after
the Effective Date.

       53.     “Distribution Record Date” means the record date for purposes of making
Distributions under the Plan on account of Allowed Claims and Allowed Interests, which date shall
be the date that is three (3) Business Days after the Confirmation Date or such other date as
designated in a Final Order of the Bankruptcy Court.

        54.      “Effective Date” means, with respect to the Plan and any such applicable Debtor(s),
the date that is the first Business Day upon which: (a) all conditions precedent specified in Article
IX.A and Article IX.B have been satisfied or waived (in accordance with Article IX.C); and (b) the
Plan is declared effective with respect to such applicable Debtor(s).

       55.     “Enjoined Party” has the meaning set forth in Article IX.E.

       56.     “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.


                                                 10
             Case 23-10597-BLS         Doc 293       Filed 08/25/23   Page 12 of 60




       57.    “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11
Case pursuant to section 541 of the Bankruptcy Code.

        58.     “Exculpated Parties” means, collectively, and in each case in its capacity as such:
(a) the Debtors; (b) the Wind Down Entity; (c) the DIP Lender; the Plan Administrator; and (d)
with respect to each of the foregoing (a) through (c), such Entity and its current and former
Affiliates, and such Entity’s and its current and former Affiliates’ current and former members,
equity holders (regardless of whether such interests are held directly or indirectly), subsidiaries,
officers, directors, managers, predecessors, successors, assigns, principals, members, employees,
agents, advisory board members, financial advisors, partners, attorneys, accountants, restructuring
advisors, investment bankers, consultants, representatives, and other professionals, each in their
capacity as such.

        59.     “Federal Judgment Rate” means the federal judgment rate in effect as of the
Petition Date, compounded annually, as set forth in 28 U.S.C. § 1961.

       60.    “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with
the Bankruptcy Court or its authorized designee in the Chapter 11 Cases.

        61.     “Final Order” means (a) an order or judgment of the Bankruptcy Court, as entered
on the docket in any Chapter 11 Case (or any related adversary proceeding or contested matter) or
the docket of any other court of competent jurisdiction, or (b) an order or judgment of any other
court having jurisdiction over any appeal from (or petition seeking certiorari or other review of)
any order or judgment entered by the Bankruptcy Court (or any other court of competent
jurisdiction, including in an appeal taken) in the Chapter 11 Case (or in any related adversary
proceeding or contested matter), in each case that has not been reversed, stayed, modified, or
amended, and as to which the time to appeal, or seek certiorari or move for a new trial, reargument,
or rehearing has expired according to applicable law and no appeal or petition for certiorari or
other proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which
any appeal that has been taken or any petition for certiorari that has been or may be timely Filed
has been withdrawn or resolved by the highest court to which the order or judgment was appealed
or from which certiorari was sought or the new trial, reargument, or rehearing shall have been
denied, resulted in no modification of such order, or has otherwise been dismissed with prejudice;
provided that the possibility a motion under Rule 60 of the Federal Rules of Civil Procedure, or
any analogous rule under the Bankruptcy Rules or the Local Bankruptcy Rules of the Bankruptcy
Court, may be filed relating to such order shall not prevent such order from being a Final Order.

       62.     “General Administrative Claim” means any Administrative Claim, other than a
Professional Fee Claim.

       63.   “Government Regulation” shall mean all regulations applicable to a
Cryptocurrency Transaction consisting of the withdrawal or liquidation of any Cryptocurrency by
a Customer.

      64.    “Governmental Unit” has the meaning set forth in section 101(27) of the
Bankruptcy Code.

       65.     “GUC Claim” means any unsecured Claim against any Debtor.


                                                11
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 13 of 60




      66.     “Holder” means an Entity holding a Claim or an Interest, as applicable. “Hold”
and “Held” shall have the correlative meanings.

        67.     “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims
or Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

        68.     “Indemnification Obligations” means each of the Debtors’ indemnification
obligations in place as of the Effective Date, whether in the bylaws, certificates of incorporation
or formation, limited liability company agreements, other organizational or formation documents,
board resolutions, management or indemnification agreements, or employment or other contracts,
for their current and former directors, officers, managers, employees, attorneys, accountants,
investment bankers, and other professionals, advisors, and agents of the Debtors, as applicable.

       69.     “Insurance Policies” means the policies of insurance listed in the Plan Supplement.

       70.     “Insurers” means the insurance companies providing insurance coverage under the
Insurance Policies.

        71.    “Intercompany Claim” means any Claim held by a Debtor or Affiliate of a Debtor
against another Debtor or Affiliate of a Debtor.

       72.     “Intercompany Interest” means any Interest in one Debtor held by another Debtor.

       73.      “Interest” means any equity security (as defined in section 101(16) of the
Bankruptcy Code) in any Debtor and any other rights, options, warrants, stock appreciation rights,
phantom stock rights, restricted stock units, redemption rights, repurchase rights, convertible,
exercisable or exchangeable securities or other agreements, arrangements or commitments of any
character relating to, or whose value is related to, any such interest or other ownership interest in
any Entity.

       74.   “Interim Compensation Order” means the Order Establishing Procedures for
Interim Compensation and Reimbursement of Expenses of Professionals, dated June 7, 2023 (D.I.
102).

       75.     “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

       76.     “IRS” means the Internal Revenue Service.

       77.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

       78.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

       79.    “Local Bankruptcy Rules” means the local rules of bankruptcy procedure
promulgated in this district in accordance with Bankruptcy Rule 9029 that are applicable to all
cases and proceedings arising in, under, or related to cases pending under the Bankruptcy Code in
the Bankruptcy Court.

       80.     “Malta OpCo” has the meaning set forth in the Introduction.


                                                 12
             Case 23-10597-BLS          Doc 293       Filed 08/25/23    Page 14 of 60




      81.     “Non-Economic Crypto” refers to Cryptocurrencies which, on a Customer-by-
Customer basis, have a value less than the third-party fees associated with a Customer Withdrawal.

       82.     “Non-Economic Crypto Distributions” means the Distribution of Non-Economic
Crypto to Customers by aggregating the Non-Economic Crypto in amounts so that their value
exceeds third-party costs associated with their withdrawal and distributing such remaining value
pro rata to Customers in amounts associated with their accounts.

        83.    “Opt Out Form” means a form, substantially in the form contained in the Plan
Supplement, by which a creditor or other party in interest may indicate its intent to opt out of the
releases contained in Article VIII of the Plan by submitting such form in advance of the deadline
for voting on the Plan.

       84.     “Other Priority Claim” means any Claim against a Debtor, other than an
Administrative Claim or a Priority Tax Claim, entitled to priority in right of payment under section
507(a) of the Bankruptcy Code.

       85.     “Person” means a “Person” as defined in section 101(41) of the Bankruptcy Code.

     86.    “Petition Date” means May 8, 2023, which is the date on which the Debtors
commenced the Chapter 11 Cases.

       87.     “Plan” has the meaning set forth in the Introduction.

        88.    “Plan Administrator” means the Person or Entity, or any successor thereto,
designated by the Debtors, whose identity shall be disclosed in the Plan Supplement, and who shall
have all powers and authorities set forth in Article IV.C. herein.

“Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan, in each case, as may be altered, amended, modified, or
supplemented from time to time in accordance with its terms, the Bankruptcy Code, and the
Bankruptcy Rules, to be Filed by the Debtors. The Plan Supplement shall be comprised of,
among other documents, the following: (a) the Assumption Schedule; (b) the Schedule of
Retained Causes of Action; and (c) the identity of the Plan Administrator. Any reference to the
Plan Supplement in the Plan shall include each of the documents identified above as
(a) through (d). Notwithstanding the foregoing, the Debtors may amend the documents
contained in, and exhibits to, the Plan Supplement through the Effective Date or as otherwise
provided herein.
        89.    “Priority Claims” means, collectively, the (a) Administrative Claims, (b) Priority
Tax Claims, and (c) Other Priority Claims.

        90.    “Priority Tax Claim” means the Claims of Governmental Units of the type specified
in section 507(a)(8) of the Bankruptcy Code.

        91.      “Pro Rata” means the proportion that the amount of an Allowed Claim or Allowed
Interest in a particular Class bears to the aggregate amount of the Allowed Claims or Allowed
Interests, in that Class, or the proportion of the Allowed Claims or Allowed Interests in a particular



                                                 13
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 15 of 60




Class and other Classes, respectively, entitled to share in the same recovery as such Claim or
Interest under the Plan.

       92.     “Professional” means an Entity: (a) retained pursuant to a Bankruptcy Court order
in accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for
services rendered before or on the Confirmation Date, pursuant to sections 327, 328, 329, 330,
331, and 363 of the Bankruptcy Code; or (b) awarded compensation and reimbursement by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

        93.    “Professional Fee Claims” means all Administrative Claims for the compensation
of Professionals and the reimbursement of expenses incurred by such Professionals through and
including the Confirmation Date to the extent such fees and expenses have not been paid pursuant
to the Interim Compensation Order or any other order of the Bankruptcy Court. To the extent the
Bankruptcy Court denies or reduces by a Final Order any amount of a Professional’s requested
fees and expenses, then the amount by which such fees or expenses are reduced or denied shall
reduce the applicable Professional Fee Claim.

       94.     “Professional Fee Escrow Account” means an interest-bearing account in an
amount equal to the Professional Fee Reserve Amount and funded by the Debtors on the Effective
Date, pursuant to Article II.A.2(b) of the Plan.

       95.    “Professional Fee Reserve Amount” means the total amount of Professional Fee
Claims estimated in accordance with Article II.A.2(c) of the Plan.

      96.     “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the
Chapter 11 Cases.

      97.     “Proof of Interest” means a proof of Interest Filed against any of the Debtors in the
Chapter 11 Cases.

       98.     “Protected Party” has the meaning set forth in Article IX.E.

        99.      “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and
Interests, that the Claim or Interest shall be rendered unimpaired for purposes of section 1124 of
the Bankruptcy Code.

        100. “Released Parties” means, collectively, and in each case only in its capacity as
such: (a) the Debtors; (b) the DIP Lender; and (c) with respect to each of the foregoing (a) through
(b), each of such Entity and its current and former Affiliates, and such Entities’ and their current
and former Affiliates’ current and former members, directors, managers, officers, equity holders
(regardless of whether such interests are held directly or indirectly), predecessors, successors, and
assigns, subsidiaries, and each of their respective current and former members, equity holders,
officers, directors, managers, principals, members, employees, agents, advisory board members,
financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such.

       101. “Releasing Parties” means, collectively, and in each case only in its capacity as
such: (a) each of the Debtors; (b) the DIP Lender; (c) each of the Debtors’ current and former


                                                 14
              Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 16 of 60




directors or officers; (d) all Holders of Claims or Interests who (1) vote in favor of the Plan or
(2) abstain from voting, are not entitled to vote, or vote to reject the Plan and do not opt out of the
Third Party Release on a timely submitted Ballot or Opt Out Form; and (e) with respect to each of
the foregoing (a) through (e), such Entity and its current and former Affiliates, and such Entities’
and their current and former Affiliates’ current and former members, directors, managers, officers,
equity holders (regardless of whether such interests are held directly or indirectly), predecessors,
successors, and assigns, subsidiaries, and each of their respective current and former members,
equity holders, officers, directors, managers, principals, members, employees, agents, advisory
board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals, each in their capacity as such.

       102. “Retained Causes of Action” means any Causes of Action that are set forth on the
Schedule of Retained Causes of Action to be retained by the Wind Down Entity and prosecuted
on behalf of the Wind Down Entity.

       103. “Schedule of Retained Causes of Action” means the schedule of certain Causes of
Action of the Debtors that are not released or waived pursuant to the Plan, as the same may be
amended, modified, or supplemented from time to time by the Debtors, which shall be included in
the Plan Supplement, provided that such schedule shall not include any Causes of Action against
any Released Party, and any such inclusion will be deemed void ab initio.

        104. “Schedules” means the schedules of assets and liabilities, schedules of executory
contracts or unexpired leases, and statement of financial affairs Filed by the Debtors pursuant to
section 521 of the Bankruptcy Code, the official bankruptcy forms, and the Bankruptcy Rules.

       105.    “SEC” means the Securities and Exchange Commission.

      106. “SEC 9019 Motion” means the Motion Pursuant to Federal Rule of Bankruptcy
Procedure 9019 to Approve Settlement with the Securities Exchange Commission, dated as of
August 21, 2023 (D.I. 273).

      107. “SEC Action” means the action commenced by the SEC on April 17, 2023 in the
Western District of Washington that initiated the action captioned Securities and Exchange
Commission v. Bittrex, Inc., et al., Case No. 2:23-cv-00580-RSM.

        108. “Secured Claim” means a Claim that is: (a) secured by a Lien on property in which
the Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable
law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to section 553
of the Bankruptcy Code, to the extent of the value of the creditor’s interest in the Estate’s interest
in such property or to the extent of the amount subject to setoff, as applicable, as determined
pursuant to section 506(a) of the Bankruptcy Code; or (b) Allowed pursuant to the Plan or separate
order of the Bankruptcy Court as a secured claim.

        109. “Subordinated Claim” means any claim that is subordinated pursuant to section 510
of the Bankruptcy Code, or as needed to satisfy the best interests of creditors test of 1129(a)(7).
The Debtors or the Wind Down Entity, as applicable, reserve the right to re-classify any Allowed
Claim in accordance with any contractual, legal, or equitable subordination relating thereto.



                                                  15
                Case 23-10597-BLS       Doc 293       Filed 08/25/23    Page 17 of 60




        110. “Third Party Release” means the release provided by the Releasing Parties in favor
of the Released Parties as set forth in Article VIII.B of the Plan.

         111.    “U.S.” or “United States” means the United States of America.

      112.       “U.S. Trustee” means the Office of the U.S. Trustee Region 3 for the District of
Delaware.

       113. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of
Claims or Interests that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

      114. “Unsecured” means, when referring to a Claim, any Claim that is not an
Administrative Claim, Priority Tax Claim, Other Priority Claim, or Secured Claim.

         115.    “Voting Deadline” has the meaning given to that term in the Disclosure Statement
Order.

      116. “Wind Down Assets” means all of the Debtors’ assets, all of which shall vest in the
Wind Down Entity pursuant to this Plan, including the Retained Causes of Action.

       117. “Wind Down Budget” means that certain budget governing the fees, expenses, and
disbursements required for an orderly wind down of the Debtors.

       118. “Wind Down Entity” BUS and any successor thereto on and after the Effective Date,
which shall be responsible for winding down the Debtors’ Estates pursuant to the terms of this
Plan.

       119. “Wind Down Expenses” means all actual and necessary costs and expenses incurred
by the Plan Administrator in connection with carrying out an orderly wind down of the Debtors
pursuant to the terms of the Plan.

B.       Rules of Interpretation.

        For purposes of the Plan: (1) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine, or neuter gender shall include the masculine, feminine, and the neutral
gender; (2) unless otherwise specified, any reference herein to a contract, lease, instrument,
release, indenture, or other agreement or document being in a particular form or on particular terms
and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; (3) unless otherwise specified, any reference herein
to an existing document, schedule, or exhibit, whether or not Filed, having been Filed or to be
Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended, modified,
or supplemented; (4) any reference to an Entity as a Holder of a Claim or Interest includes that
Entity’s successors and assigns; (5) unless otherwise specified, all references herein to “Articles”
are references to Articles hereof or hereto; (6) unless otherwise specified, all references herein to
exhibits are references to exhibits in the Plan Supplement; (7) unless otherwise specified, the words
“herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to a particular portion
of the Plan; (8) subject to the provisions of any contract, certificate of incorporation, or similar


                                                 16
             Case 23-10597-BLS          Doc 293        Filed 08/25/23   Page 18 of 60




formation document or agreement, by-law, instrument, release, or other agreement or document
entered into in connection with the Plan, the rights and obligations arising pursuant to the Plan
shall be governed by, and construed and enforced in accordance with the applicable federal law,
including the Bankruptcy Code and Bankruptcy Rules; (9) captions and headings to Articles are
inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation of the Plan; (10) unless otherwise specified herein, the rules of construction set forth
in section 102 of the Bankruptcy Code shall apply; (11) any term used in capitalized form herein
that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall
have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the
case may be; (12) all references to docket numbers of documents Filed in the Chapter 11 Cases
are references to the docket numbers under the Bankruptcy Court’s CM/ECF system; (13) all
references to statutes, regulations, orders, rules of courts, and the like shall mean as amended from
time to time, and as applicable to the Chapter 11 Cases, unless otherwise stated; and (14) any
immaterial effectuating provisions may be interpreted by the Debtors or the Wind Down Entity,
as applicable, in such a manner that is consistent with the overall purpose and intent of the Plan all
without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity.

C.     Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day. Any action to be taken
on the Effective Date may be taken on or as soon as reasonably practicable after the Effective Date.

D.     Governing Law.

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
Delaware, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of the Plan, any agreements, documents,
instruments, or contracts executed or entered into in connection with the Plan (except as otherwise
set forth in those agreements, in which case the governing law of such agreement shall control);
provided that corporate governance matters relating to the Debtors shall be governed by the laws
of the state of incorporation or formation of the relevant Debtor.

E.     Reference to Monetary Figures.

       All references in the Plan to monetary figures shall refer to currency of the United States,
unless otherwise expressly provided.

F.     Conflicts.

        In the event of an inconsistency between the Plan and the Disclosure Statement, the terms
of the Plan shall control in all respects. In the event of an inconsistency between the Confirmation
Order and the Plan, the Confirmation Order shall control.




                                                  17
               Case 23-10597-BLS       Doc 293        Filed 08/25/23   Page 19 of 60




                            ARTICLE II.
  ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS, AND DIP LOAN CLAIMS

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
Priority Tax Claims, and DIP Loan Claims have not been classified and, thus, are excluded from
the Classes of Claims and Interests.

A.     Administrative Claims.

          1.    General Administrative Claims.

        Except as specified in this Article II, unless the Holder of an Allowed General
Administrative Claim and the Debtors, or the Wind Down Entity, as applicable, agree to less
favorable treatment, each Holder of an Allowed General Administrative Claim will receive, in full
satisfaction of its General Administrative Claim, Cash equal to the amount of such Allowed
General Administrative Claim either: (a) on the Effective Date; (b) if the General Administrative
Claim is not Allowed as of the Effective Date, sixty (60) days after the date on which an order
allowing such General Administrative Claim becomes a Final Order, or as soon thereafter as
reasonably practicable; or (c) if the Allowed General Administrative Claim is based on a liability
incurred by the Debtors in the ordinary course of their business after the Petition Date, pursuant to
the terms and conditions of the particular transaction or agreement giving rise to such Allowed
General Administrative Claim, without any further action by the Holders of such Allowed General
Administrative Claim, and without any further notice to or action, order, or approval of the
Bankruptcy Court.

        Except for Claims of Professionals, requests for payment of General Administrative Claims
that were not accrued in the ordinary course of business must be Filed and served on the Debtors
or the Wind Down Entity, as applicable, no later than the Administrative Claims Bar Date pursuant
to the procedures specified in the Confirmation Order and the notice of the Effective Date. Holders
of General Administrative Claims that are required to File and serve a request for payment of such
General Administrative Claims by the Administrative Claims Bar Date and do not File and serve
such a request by the Administrative Claims Bar Date shall be forever barred, estopped, and
enjoined from asserting such General Administrative Claims against the Debtors or Wind Down
Entity as applicable, or their respective property, and such General Administrative Claims shall be
deemed forever discharged and released as of the Effective Date. Any requests for payment of
General Administrative Claims that are not properly Filed and served by the Administrative Claims
Bar Date shall not appear on the Claims Register and shall be Disallowed automatically without
the need for further action by the Debtors or the Wind Down Entity, as applicable, or further order
of the Bankruptcy Court. To the extent this Article II.A.1 conflicts with Article XII.C of the Plan
with respect to fees and expenses payable under section 1930(a) of the Judicial Code, including
fees and expenses payable to the U.S. Trustee, Article XII.C of the Plan shall govern.
Notwithstanding the foregoing, no request for payment of a General Administrative Claim need
be Filed with respect to a General Administrative Claim previously Allowed by Final Order.

       The Debtors or the Wind Down Entity, as applicable, in their sole and absolute discretion,
may settle General Administrative Claims without further Bankruptcy Court approval. They may
also choose to object to any Administrative Claim no later than sixty (60) days from the


                                                 18
               Case 23-10597-BLS        Doc 293       Filed 08/25/23    Page 20 of 60




Administrative Claims Bar Date, subject to extensions by the Bankruptcy Court, agreement in
writing of the parties, or on motion of a party in interest approved by the Bankruptcy Court. Unless
the Debtors or Plan Administrator (or other party with standing), as applicable, object to a timely
filed and properly served Administrative Claim, such Administrative Claim will be deemed
Allowed in the amount requested. In the event that the Debtors or the Wind Down Entity, as
applicable, object to an Administrative Claim, the parties may confer to try to reach a settlement
and, failing that, the Bankruptcy Court will determine whether such Administrative Claim should
be Allowed and, if so, in what amount.

          2.    Professional Compensation.

                (a)    Final Fee Applications.

        All final requests for payment of Professional Fee Claims, including the Professional Fee
Claims incurred during the period from the Petition Date through the Confirmation Date, must be
Filed and served on the Wind Down Entity no later than sixty (60) days after the Effective Date or
such other time as may be directed by the Bankruptcy Court. All such final requests will be subject
to approval by the Bankruptcy Court after notice to other parties on the regular service list and a
hearing in accordance with the procedures established by the Bankruptcy Code and prior orders of
the Bankruptcy Court in the Chapter 11 Cases, including the Interim Compensation Order, and
once approved by the Bankruptcy Court, promptly paid from the Professional Fee Escrow Account
up to the full Allowed amount.

                (b)    Professional Fee Escrow Account.

       On the Effective Date, the Debtors or the Wind Down Entity, as applicable, shall establish
and fund the Professional Fee Escrow Account with Cash equal to the Professional Fee Reserve
Amount. The Professional Fee Escrow Account shall be maintained in trust solely for the
Professionals. Such funds shall not be considered property of the Estates of the Debtors or the
Wind Down Entity, as applicable. The amount of Professional Fee Claims owing to the
Professionals shall be paid in Cash to such Professionals by the Wind Down Entity from the
Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee
Claims are Allowed by a Final Order. When all such Allowed amounts owing to Professionals
have been paid in full, any remaining amount in the Professional Fee Escrow Account shall
promptly be paid to the Wind Down Entity without any further action or order of the Bankruptcy
Court. If the Professional Fee Escrow Account is insufficient to fund the full Allowed amounts of
Professional Fee Claims, all remaining unpaid Allowed Professional Fee Claims will be paid by
the Debtors or the Wind Down Entity, as applicable.

                (c)    Professional Fee Reserve Amount.

        Professionals shall estimate their unpaid Professional Fee Claims and other unpaid fees
and expenses incurred in rendering services to the Debtors before and as of the Confirmation Date
and shall deliver such estimate to the Debtors no later than five business days before the Effective
Date; provided that such estimate shall not be deemed to limit the amount of the fees and expenses
that are the subject of the Professional’s final request for payment of Filed Professional Fee Claims.
If a Professional does not provide an estimate, the Debtors may estimate the unpaid and unbilled



                                                 19
             Case 23-10597-BLS         Doc 293       Filed 08/25/23   Page 21 of 60




fees and expenses of such Professional. The aggregate amount for all Professionals estimated
pursuant to this section shall comprise the Professional Fee Reserve Amount.

               (d)     Post-Confirmation Date Fees and Expenses.

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Wind Down Entity shall, in the ordinary course of business and without any further notice
to or action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable and
documented legal, professional, or other fees and expenses incurred by the Wind Down Entity.
Upon the Confirmation Date, any requirement that Professionals comply with sections 327 through
331 and 1103 of the Bankruptcy Code in seeking retention or compensation for services rendered
after such date shall terminate, and the Wind Down Entity may employ and pay any Professional,
as the Plan Administrator determines in the Plan Administrator’s reasonable business judgment.

B.     Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
exchange for each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim
shall be treated in accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy
Code and, for the avoidance of doubt, Holders of Allowed Priority Tax Claims will receive interest
on such Allowed Priority Tax Claims after the Effective Date in accordance with sections 511 and
1129(a)(9)(C) of the Bankruptcy Code.

C.     DIP Loan Claims.

        Except to the extent that a Holder of an Allowed DIP Loan Claim agrees to a less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for
each Allowed DIP Loan Claim, each Holder of such Allowed DIP Loan Claim shall be paid in full
in accordance with the terms of the DIP Loans. Upon the payment or satisfaction of the Allowed
DIP Loan Claims in accordance with this Article II.C, all superpriority claims granted in
connection with the Allowed DIP Loan Claims shall be automatically terminated and of no further
force and effect without any further notice to or action, order, or approval of the Bankruptcy Court
or any other Entity.




                                                20
             Case 23-10597-BLS           Doc 293        Filed 08/25/23    Page 22 of 60




D.      Statutory Fees.

        All fees due and payable pursuant to section 1930 of Title 28 of the United States Code
before the Effective Date shall be paid by the Debtors. On and after the Effective Date, the Wind
Down Entity shall pay any and all such fees when due and payable, and shall File with the
Bankruptcy Court quarterly reports in a form reasonably acceptable to the U.S. Trustee. The Wind
Down Entity shall remain obligated to pay quarterly fees to the U.S. Trustee until the earliest of
the case of that particular Debtor being closed, dismissed, or converted to a case under chapter 7
of the Bankruptcy Code.

                              ARTICLE III.
         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification in General.

        A Claim or Interest is placed in a particular Class for all purposes, including voting,
confirmation, and Distribution under this Plan and under sections 1122 and 1123(a)(1) of the
Bankruptcy Code; provided, that a Claim or Interest is placed in a particular Class for the purpose
of receiving Distributions pursuant to this Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class and such Claim or Interest has not been satisfied,
released, or otherwise settled prior to the Effective Date.

B.      Grouping of Debtors for Convenience Only.

        This Plan groups the Debtors together solely for the purpose of describing treatment under
this Plan, confirmation of this Plan, and Plan Distributions to be made in respect of Claims against
and Interests in the Debtors under this Plan. Each Class of Claims will be deemed to contain sub-
classes for each of the Debtors, to the extent applicable for voting and Distribution purposes. To
the extent there are no Allowed Claims or Interests with respect to a particular Debtor, such Class
is deemed to be omitted with respect to such Debtor. Except as otherwise provided herein, to the
extent a holder has a Claim that may be asserted against more than one Debtor, the vote of such
holder in connection with such Claims shall be counted as a vote of such Claim against each Debtor
against which such holder has a Claim. Such groupings shall not affect each Debtor’s status as a
separate legal entity, change the organizational structure of the Debtors’ business enterprise,
constitute a change of control of any Debtor for any purpose, cause a merger of consolidation of
any legal entities, or cause the transfer of any assets.

C.      Classification of Claims and Interests.

        Claims and Interests, except for Administrative Claims, Priority Tax Claims, Professional
Fee Claims, and DIP Loan Claims, are classified as required by the Bankruptcy Code in the Classes
set forth in this Article III. A Claim or Interest is classified in a particular Class only to the extent
that the Claim or Interest qualifies within the description of that Class and is classified in other
Classes to the extent that any portion of the Claim or Interest qualifies within the description of




                                                   21
                 Case 23-10597-BLS           Doc 293       Filed 08/25/23   Page 23 of 60




such other Classes. Certain of the Debtors may not have holders of Claims or Interests in a
particular Class or Classes, and such Classes shall be treated as set forth in Article III.F.

       The following chart represents the classification of Claims and Interests for each Debtor
pursuant to the Plan.

  Class               Claims and Interests                 Status               Voting Rights
                                                                     Not Entitled to Vote
Class 1        Other Priority Claims                  Unimpaired
                                                                     (Deemed to Accept)
Class 2A BUS Customer Claims                           Impaired      Entitled to Vote
Class 2B Malta OpCo Customer Claims                    Impaired      Entitled to Vote
Class 3        GUC Claims                              Impaired      Entitled to Vote
                                                                     Not Entitled to Vote
Class 4        Subordinated Claims                     Impaired
                                                                     (Deemed to Reject)
Class 5        Interests                               Impaired      Entitled to Vote

D.        Treatment of Claims and Interests.

       To the extent that a Class contains Allowed Claims or Allowed Interests with respect to
any Debtor, the treatment of Allowed Claims and Allowed Interests in such Class is specified
below.

          1.       Class 1 – Other Priority Claims.

                   (a)     Classification: Class 1 consists of Other Priority Claims.

                   (b)     Treatment: Except to the extent that a Holder of an Allowed Other Priority
                           Claim agrees to a less favorable treatment of its Allowed Claim, in full and
                           final satisfaction, settlement, release, and discharge of and in exchange for
                           each Allowed Other Priority Claim, each such Holder shall be paid in full
                           in Cash or otherwise receive treatment consistent with the provisions of
                           section 1129(a)(9) of the Bankruptcy Code.

                   (c)     Voting: Class 1 is Unimpaired under the Plan. Holders of Claims in Class
                           1 are conclusively deemed to have accepted the Plan pursuant to section
                           1126(f) of the Bankruptcy Code. Therefore, Holders of Claims in Class 1
                           are not entitled to vote to accept or reject the Plan.

          2.       Class 2A – BUS Customer Claims.

                   (a)     Classification: Class 2A consists of BUS Customer Claims.

                   (b)     Treatment: The BUS Customer Claims are Allowed in the full amount due
                           and owing to each Customer of BUS. Except to the extent that a Holder of
                           an Allowed BUS Customer Claim agrees to less favorable treatment of its


                                                      22
     Case 23-10597-BLS       Doc 293        Filed 08/25/23   Page 24 of 60




             Allowed Claim, in full and final satisfaction, settlement, release, and
             discharge of and in exchange for each Allowed BUS Customer Claim, each
             such Holder, who provides all information that the Debtors believe, in
             consultation with regulatory counsel, is required by the Debtors, shall
             receive its Customer Distribution, provided that all Government
             Regulations applicable to such Customer are satisfied prior to making such
             Customer Distribution.

      (c)    Voting: Class 2A is Impaired under the Plan. Holders of Claims in Class
             2A are entitled to vote to accept or reject the Plan.

3.    Class 2B – Malta OpCo Customer Claims.

      (a)    Classification: Class 2B consists of Malta OpCo Customers Claims.

      (b)    Treatment: The Malta OpCo Customer Claims are Allowed in the full
             amount due and owing to each Customer of Malta OpCo. Except to the
             extent that a Holder of an Allowed Malta OpCo Customer Claim agrees to
             less favorable treatment of its Allowed Claim, in full and final satisfaction,
             settlement, release, and discharge of and in exchange for each Allowed
             Malta OpCo Customer Claim, each such Holder, who provides all
             information that the Debtors believe, in consultation with regulatory
             counsel, is required by the Debtors, shall receive its Customer Distribution,
             provided that all Government Regulations applicable to such Customer are
             satisfied prior to making such Customer Distribution.

      (c)    Voting: Class 2B is Impaired under the Plan. Holders of Claims in Class
             2B are entitled to vote to accept or reject the Plan.

4.    Class 3 – GUC Claims.

      (a)    Classification: Class 3 consists of GUC Claims.

      (b)    Treatment: Except to the extent that a Holder of an Allowed GUC Claim
             agrees to less favorable treatment of its Allowed Claim, in full and final
             satisfaction, settlement, release, and discharge of and in exchange for each
             Allowed GUC Claim, each such Holder of an Allowed Claim in Class 3
             shall receive payment in Cash in an amount equal to such Allowed GUC
             Claim no later than six months after the Effective Date.

      (c)    Voting: Class 3 is Impaired under the Plan. Holders of Claims in Class 3
             are entitled to vote to accept or reject the Plan.

5.    Class 4 – Subordinated Claims.

      (a)    Classification: Class 4 consists of Subordinated Claims.




                                       23
             Case 23-10597-BLS         Doc 293        Filed 08/25/23    Page 25 of 60




               (b)     Treatment: Except to the extent that a Holder of an Allowed Subordinated
                       Claim agrees to less favorable treatment of its Allowed Claim, in full and
                       final satisfaction, settlement, release, and discharge of and in exchange for
                       each Allowed Subordinated Claim, each such Holder of an Allowed Claim
                       in Class 4 shall receive payment in Cash, after all Allowed GUC Claims
                       have been paid in Cash in full, in an amount equal to such Allowed
                       Subordinated Claim no later than six months after the Effective Date.

               (c)     Voting: Class 4 is Impaired under the Plan. Holders of Claims in Class 4
                       are entitled to vote to accept or reject the Plan.

       6.      Class 5 – Interests.

               (a)     Classification: Class 5 consists of Interests.

               (b)     Treatment: On the Effective Date, existing Interests in BUS shall survive
                       and continue to exist as Interests in the Wind Down Entity, which entitles
                       each Holder of an Allowed Class 5 Interest in BUS to a Pro Rata payment
                       of any remaining Wind Down Assets (if any) or the proceeds thereof after
                       all Allowed Claims have been paid in full. On the Effective Date, existing
                       Interests in all Debtors, other than BUS, shall be deemed canceled,
                       discharged, released, and extinguished, and there shall be no distribution to
                       Holders of Interests in the Debtors, other than BUS, on account of such
                       Interests.

               (c)     Voting: Class 5 is Impaired under the Plan. Holders of Interests in Class 5
                       are entitled to vote to accept or reject the Plan.

E.     Special Provision Governing Unimpaired Claims.

       Except as otherwise provided in the Plan, nothing under the Plan shall affect the right of
the Debtors, or the Wind Down Entity, as applicable, in respect of any Unimpaired Claims,
including all rights in respect of legal and equitable defenses to or setoffs or recoupments against
any such Unimpaired Claims.

F.     Elimination of Vacant Classes.

        Any Class of Claims or Interests that, as of the commencement of the Confirmation
Hearing, does not have at least one Holder of a Claim or Interest that is Allowed in an amount
greater than zero for voting purposes pursuant to the Disclosure Statement Order shall be
considered vacant, deemed eliminated from the Plan for purposes of voting to accept or reject the
Plan, and disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of
the Bankruptcy Code with respect to that Class.

G.     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

       Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
by acceptance of the Plan by one or more of the Classes entitled to vote pursuant to 0 of the Plan.


                                                 24
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 26 of 60




The Debtors shall seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy
Code with respect to any rejecting Class of Claims or Interests. The Debtors reserve the right to
modify the Plan in accordance with Article X of the Plan to the extent, if any, that Confirmation
pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying
the treatment applicable to a Class of Claims to render such Class of Claims Unimpaired to the
extent permitted by the Bankruptcy Code and the Bankruptcy Rules or to withdraw the Plan as to
such Debtor.

H.     Voting Classes; Presumed Acceptance by Non-Voting Classes.

        If a Class contains Holders of Claims or Interests eligible to vote and no Holders of Claims
or Interests eligible to vote in such Class vote to accept or reject the Plan, the Plan shall be
presumed accepted by the Holders of such Claims or Interests in such Class.

I.     Presumed Acceptance and Rejection of the Plan.

        To the extent that Claims or Interests of any Class receive no Distribution under the Plan,
each Holder of a Claim or Interest in such Class is deemed to have rejected the Plan pursuant to
section 1126(g) of the Bankruptcy Code and is not entitled to vote to accept or reject the Plan. To
the extent that Claims or Interests of any Class are Reinstated, each Holder of a Claim or Interest
in such Class is presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code and is not entitled to vote to accept or reject the Plan.

J.     Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

K.     Subordinated Claims and Interests.

        The allowance, classification, and treatment of all Allowed Claims and Allowed Interests
and the respective Distributions and treatments under the Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable or contractual subordination rights relating thereto, whether
arising under general principles of equitable subordination, section 510 of the Bankruptcy Code,
or otherwise. Pursuant to section 510 of the Bankruptcy Code, or as needed to satisfy the best
interests of creditors, the Debtors, or the Wind Down Entity, as applicable, reserve the right to re-
classify any Allowed Claim in accordance with any contractual, legal, or equitable subordination
relating thereto.

                                  ARTICLE IV.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

A.     No Substantive Consolidation.

       This Plan is being proposed as a joint chapter 11 plan of the Debtors for administrative
purposes only and constitutes a separate chapter 11 plan for each Debtor. This Plan is not premised


                                                 25
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 27 of 60




upon the substantive consolidation of the Debtors with respect to the Classes of Claims of Interests
set forth in the Plan.

B.     Settlement and Compromise.

       1.      Customers and the Debtors.

        The Plan shall be deemed a motion to approve the good-faith compromise and settlement
pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 of disputes between
Customers and the Debtors with respect to ownership of Cryptocurrencies. In consideration for
the benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall
constitute a good faith compromise and settlement. The compromises and releases described
herein shall be deemed nonseverable from each other and from all other terms of the Plan. The
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise,
settlement, and releases set forth in the Plan, as well as a finding by the Bankruptcy Court that
such settlement and compromise, and the releases and indemnities provided to effectuate such
settlement, are in the best interests of the Debtors, their Estates, and the Holders of Claims and
Interests, and is fair, equitable, and reasonable.

       2.      The SEC Action.

        The Plan shall be deemed approval of the SEC 9019 Motion and related Consent Judgment
filed in the SEC Action. In consideration for the benefits provided under the Plan, upon the
Effective Date, the provisions of the Plan shall constitute a good faith compromise and settlement.
The compromises and releases described herein shall be deemed nonseverable from each other and
from all other terms of the Plan. The Confirmation Order shall constitute the Bankruptcy Court’s
approval of the compromise, settlement, and releases set forth in the Plan, as well as a finding by
the Bankruptcy Court that such settlement and compromise, and the releases and indemnities
provided to effectuate such settlement, are in the best interests of the Debtors, their Estates, and
the Holders of Claims and Interests, and is fair, equitable, and reasonable.

C.     Liquidation of the Debtors.

        In accordance with section 1141 of the Bankruptcy Code, the Wind Down Assets shall
automatically be assigned, transferred, and vest in the Wind Down Entity upon the occurrence of
the Effective Date, free and clear of all Claims, Liens, and other interests, subject only to the
Allowed Claims and Class 5 Interests, as set forth herein, and the expenses of the Plan
Administrator, for Distribution in accordance herewith. For the avoidance of doubt, to the extent
not otherwise waived in writing, released, settled, assigned or sold pursuant to a prior Order or the
Plan, the Wind Down Entity specifically retains and reserves the right to assert, after the Effective
Date, any and all of the claims, Causes of Action (including but not limited to those Causes of
Action listed on the Causes of Action List, but excluding the Avoidance Actions released pursuant
to Article VIII herein) and related rights, whether or not asserted as of the Effective Date, and all
proceeds of the foregoing. The Confirmation Order shall be deemed to, pursuant to sections 363
and 1123 of the Bankruptcy Code, authorize, among other things, all actions as may be necessary
or appropriate to effect any transaction described in, approved by, contemplated by, or necessary




                                                 26
             Case 23-10597-BLS          Doc 293        Filed 08/25/23   Page 28 of 60




to effectuate the Plan. The Debtors’ attorney-client privilege shall be transferred to the Wind
Down Entity.

       1.      Wind Down Entity.

        Pursuant to the Confirmation Order, the Debtors, other than BUS, will be dissolved. The
Wind Down Entity shall continue in existence after the Effective Date for purposes of
(1) preserving the Causes of Action for the benefit of Holders of Claims entitled to Distributions
hereunder, (2) winding down the Debtors’ remaining businesses and affairs as expeditiously as
reasonably possible and liquidating any assets held by the Wind Down Entity after the Effective
Date, (3) resolving any Disputed Claims, (4) paying Allowed Claims, (5) filing appropriate tax
returns, and (6) administering the Plan in an efficacious manner. The Wind Down Entity shall be
deemed to be fully bound by the terms of the Plan and the Confirmation Order. Except as
otherwise provided in the Plan, the Wind Down Entity shall be deemed to be substituted as the
party-in-lieu of the Debtors in all matters, including (a) motions, contested matters, and adversary
proceedings pending in the Bankruptcy Court, and (b) all matters pending in any courts, tribunals,
forums, or administrative proceedings outside of the Bankruptcy Court, in each case without the
need or requirement for the Wind Down Entity to file motions or substitutions of parties or counsel
in each such matter.

         Except as otherwise provided in the Plan or the Plan Supplement, or any agreement,
instrument, or other document incorporated therein, the Wind Down Entity shall continue to exist
after the Effective Date as a separate corporate entity, with all the powers of a corporation, pursuant
to the applicable law in the jurisdiction in which it is incorporated pursuant to its certificate of
incorporation and bylaws in effect prior to the Effective Date, except to the extent such certificate
of incorporation and bylaws are amended under the Plan or otherwise, and to the extent such
documents are amended, such documents are deemed to be amended pursuant to the Plan and
require no further action or approval (other than any requisite filings required under applicable
state, provincial, or federal law).

        Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, only the Wind Down Entity
and the Plan Administrator shall have the right to pursue or not to pursue, or, subject to the terms
hereof, compromise or settle any Wind Down Assets. From and after the Effective Date, the Wind
Down Entity and the Plan Administrator may commence, litigate, and settle any Causes of Action
(other than the Avoidance Actions released pursuant to Article VIII herein) or Claims relating to
the Wind Down Assets or rights to payment or Claims that belong to the Debtors as of the Effective
Date or are instituted by the Wind Down Entity and the Plan Administrator on or after the Effective
Date, except as otherwise expressly provided herein. Notwithstanding the release of Avoidance
Actions, the Wind Down Entity shall be entitled to enforce all defenses and counterclaims to all
Claims asserted against the Debtors and their Estates, including setoff, recoupment and any rights
under section 502(d) of the Bankruptcy Code.

        Other than as set forth herein, no other Entity may pursue such Wind Down Assets on or
after the Effective Date. The Wind Down Entity shall be deemed hereby substituted as plaintiff,
defendant, or in any other capacity for the Debtors in any Causes of Action pending before the
Bankruptcy Court or any other court that relates to any Wind Down Asset without the need for
filing any motion for such relief.


                                                  27
             Case 23-10597-BLS         Doc 293       Filed 08/25/23   Page 29 of 60




       After the Effective Date, the Wind Down Entity and any Debtor may be disposed of,
dissolved, wound down, or liquidated without supervision or approval by the Bankruptcy Court
and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

       2.      Wind Down Assets.

         Notwithstanding any prohibition of assignability under applicable non-bankruptcy law, on
the Effective Date and periodically thereafter if additional Wind Down Assets become available,
the Debtors shall be deemed to have automatically transferred to the Wind Down Entity all of their
right, title, and interest in and to all of the Wind Down Assets, in accordance with section 1141 of
the Bankruptcy Code. All such Wind Down Assets shall automatically vest in the Wind Down
Entity free and clear of all Claims, Liens, and other interests, subject only to the Allowed Claims
and the Class 5 Interests, as set forth herein, and the expenses of the Wind Down Entity, as set
forth herein. Thereupon, the Debtors shall have no interest in or with respect to the Wind Down
Assets.

       3.      Appointment of the Plan Administrator.

        The Wind Down Entity shall be governed by the Plan Administrator in the same fiduciary
capacity as applicable to a board of managers, directors, and officers, subject to the provisions
hereof (and all certificates of formation, membership agreements, and related documents deemed
amended by the Plan to permit and authorize the same). On the Effective Date, the authority,
power, and incumbency of the persons acting as directors and officers of the Wind Down Entity
shall be deemed to be terminated and such individuals shall be deemed to have resigned, and the
Plan Administrator shall be appointed as the sole director and sole officer of the Wind Down Entity
and shall succeed to the powers of the Wind Down Entity’s managers, directors, and officers.
From and after the Effective Date, the Plan Administrator shall be the sole representative of, and
shall act for, the Wind Down Entity. The Plan Administrator shall use commercially reasonable
efforts to operate in a manner consistent with the Wind Down Budget.

        The Plan Administrator shall be selected by the Debtors and shall be identified in the Plan
Supplement. The appointment of the Plan Administrator shall be approved in the Confirmation
Order, and the Plan Administrator’s duties shall commence as of the Effective Date. The Plan
Administrator shall administer the Plan and shall serve as a representative of the Wind Down
Entity.

       The Plan Administrator shall serve in such capacity through the earlier of (i) the date on
which the Wind Down Entity is dissolved in accordance with Article IV.C.9 hereof and (ii) the
date on which such Plan Administrator resigns, is terminated, or is otherwise unable to serve;
provided, however, that, in the event that the Plan Administrator resigns, is terminated, or is
otherwise unable to serve, the holders of the majority of Interests in the Wind Down Entity shall
appoint a successor to serve as the Plan Administrator. If a successor Plan Administrator is not
appointed within 60 days after such occurrence, then the Bankruptcy Court, upon the motion of
any party-in-interest, shall approve a successor to serve as the Plan Administrator. Any such
successor Plan Administrator shall serve in such capacity until the Wind Down Entity is dissolved
or the successor Plan Administrator resigns, is terminated, or is otherwise unable to serve, in
accordance with the above provisions.


                                                28
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 30 of 60




       4.      Responsibilities of the Plan Administrator.

       Responsibilities of the Plan Administrator shall include, but are not limited to:

                (i)     Administering the implementation of the Plan, including the making of the
                        Distributions contemplated herein;

                (ii)    Marshalling, marketing for sale, and liquidating the Wind Down Assets;

                (iii)   Conducting an analysis of any and all Claims and Interests and prosecuting
                        objections thereto or settling or otherwise compromising such Claims and
                        Interests, if necessary and appropriate;

                (iv)    Maintaining and administering the reserves in accordance with the terms
                        hereof;

                (v)     Commencing, prosecuting, or settling claims and Causes of Action (other
                        than the Avoidance Actions released pursuant to Article IV.K. herein),
                        enforcing contracts, and asserting claims, defenses, offsets and privileges
                        in accordance herewith and paying all associated costs;

                (vi)    Recovering and compelling turnover of the Debtors’ property;

                (vii)   Paying Wind Down Expenses;

                (viii) Abandoning any property constituting the Wind Down Assets that cannot
                       be sold or otherwise disposed of for value and whose Distribution to
                       Holders of Allowed Claims would not be feasible or cost-effective in the
                       Plan Administrator’s reasonable judgment;

                (ix)    Preparing and filing post-Effective Date operating reports;

                (x)     Filing appropriate tax returns in the exercise of the Plan Administrator’s
                        fiduciary obligations;

                (xi)    Retaining such Professionals as are necessary and appropriate in
                        furtherance of the Plan Administrator’s fiduciary obligations; and

                (xii)   Taking such actions as are necessary and reasonable to carry out the
                        provisions of the Plan, including winding down the Wind Down Entity’s
                        business affairs.

       5.      Expenses of the Plan Administrator.

        All costs, expenses, and obligations incurred by the Plan Administrator in administering
the Plan, on or after the Effective Date, or in any manner connected, incidental, or related thereto,
shall be paid from the Wind Down Assets.


                                                 29
             Case 23-10597-BLS          Doc 293       Filed 08/25/23    Page 31 of 60




       6.      Fiduciary Duties of the Plan Administrator.

        Pursuant to the Plan, the Plan Administrator shall act in a fiduciary capacity on behalf of
the interests of all Holders of Claims and Interests that will receive Distributions pursuant to Plan.
The Plan Administrator shall be appointed and act for the Wind Down Entity in the same fiduciary
capacity as applicable to a board of managers, directors, and officers, subject to the provisions
hereof (and all certificates of formation, membership agreements, and related documents are
deemed amended by the Plan to permit and authorize the same). On the Effective Date, the
authority, power, and incumbency of the persons acting as managers, directors, or officers of the
Debtors shall be terminated and such individuals shall be deemed to have resigned, solely in their
capacities as such, and the Plan Administrator shall be appointed as the sole manager, sole director,
and sole officer of the Wind Down Entity, and shall succeed to the powers of the Wind Down
Entity’s managers, directors, and officers. From and after the Effective Date, the Plan
Administrator shall be the sole representative of, and shall act for, the Wind Down Entity.

       7.      Tax Treatment.

        Nothing contained in this Plan or the Confirmation Order shall be deemed to determine the
tax liability of any person or entity, including but not limited to the Debtors or the Wind Down
Entity, nor shall this Plan or the Confirmation Order be deemed to have determined the federal tax
treatment of any item, distribution, or entity, including the federal tax consequences of this Plan,
nor shall anything in this Plan or Confirmation Order be deemed to have conferred jurisdiction
upon the Bankruptcy Court to make determinations as to federal tax liability and federal tax
treatment except as provided under 11 U.S.C. § 505.

       8.      Insurance; Bond.

        The Plan Administrator, in his or her sole discretion, may obtain insurance coverage (in
the form of an errors and omissions policy or otherwise) with respect to the liabilities and
obligations of the Plan Administrator under the Plan. The Plan Administrator shall serve with a
bond, the cost and expense of which shall be paid by the Wind Down Assets.

       9.      Dissolution of the Wind Down Entity.

        Upon a certification to be filed with the Bankruptcy Court by the Plan Administrator of the
occurrence of the Effective Date, all distributions having been made, completion of all its duties
under the Plan, and entry of a final decree closing the Wind Down Entity’s Chapter 11 Case, and
the conclusion of all litigation being pursued by the Plan Administrator, the Wind Down Entity
shall be deemed to be dissolved without any further action by the Wind Down Entity, the Plan
Administrator, or the Bankruptcy Court, including the filing of any documents with the secretary
of state for the state in which the Wind Down Entity is formed or any other jurisdiction. The Plan
shall constitute a plan of distribution as contemplated in the Georgia Business Corporation Code.
The Plan Administrator, however, shall have authority to take all necessary actions to dissolve the
Wind Down Entity in and withdraw the Wind Down Entity from applicable state(s).




                                                 30
             Case 23-10597-BLS          Doc 293       Filed 08/25/23    Page 32 of 60




        For the avoidance of doubt, notwithstanding the Wind Down Entity’s dissolution on or
after the Effective Date, the Wind Down Entity shall be deemed to remain intact solely with respect
to the preparation, filing, review, and resolution of applications for Professional Fee Claims. To
the extent the Wind Down Entity has any Cash or other property remaining after the Chapter 11
Cases have been closed and all payments have been made under the Plan (including all payments
on account of Allowed Claims and the Plan Administrator’s compensation and reimbursement)
and the conclusion of all litigation being pursued by the Litigation Administrator(s), such Cash or
other property shall be distributed Pro Rata to the Holders of Claims or Interests entitled to receive
such proceeds, without any further notice to or action, order, or approval of the Bankruptcy Court
or any other Entity; provided that if such distributions are, in the Plan Administrator’s reasonable
judgment, infeasible to distribute Pro Rata or for any other reason such distributions cannot be
effectuated, the Plan Administrator may contribute such amounts to the Bankruptcy Court pursuant
to chapter 129 of the Judicial Code.

       10.     Liability of the Plan Administrator; Indemnification.

        Neither the Plan Administrator, his or her respective members, employees, employers,
designees or professionals, or any of his or her duly designated agents or representatives (each, an
“Plan Administrator Exculpation Party” and collectively, the “Plan Administrator Exculpation
Parties”) shall be liable for losses, claims, damages, liabilities or expenses in connection with
administering the Wind Down Assets or for the act or omission of any other Plan Administrator
Exculpation Party, nor shall the Plan Administrator Exculpation Parties be liable for any act or
omission taken or omitted to be taken pursuant to the discretion, powers and authority conferred,
or in good faith believed to be conferred by the Plan other than for specific acts or omissions
resulting from such Plan Administrator Exculpation Party’s willful misconduct or actual fraud.
The Plan Administrator shall be entitled to enjoy all of the rights, powers, immunities and
privileges applicable to a chapter 7 trustee. The Plan Administrator may, in connection with the
performance of its functions, and in its sole and absolute discretion, consult with its attorneys,
accountants, financial advisors and agents, and shall not be liable for any act taken, omitted to be
taken, or suffered to be done in accordance with advice or opinions rendered by such persons,
regardless of whether such advice or opinions are provided in writing. Notwithstanding such
authority, the Plan Administrator shall not be under any obligation to consult with its attorneys,
accountants, financial advisors or agents, and its determination not to do so shall not result in the
imposition of liability on the Plan Administrator or its respective designees, unless such
determination is based on willful misconduct or actual fraud. The Plan Administrator shall
indemnify and hold harmless the Plan Administrator Exculpation Parties (in their capacity as
such), from and against and in respect of all liabilities, losses, damages, claims, costs and expenses
(including, without limitation, reasonable attorneys’ fees, disbursements, and related expenses)
that such parties may incur or to which such parties may become subject in connection with any
action, suit, proceeding or investigation brought by or threatened against such parties arising out
of or due to their acts or omissions, or consequences of such acts or omissions, with respect to the
implementation or administration of the Plan or the discharge of their duties hereunder; provided,
however, that no such indemnification will be made to such Persons for actions or omissions as a
result of willful misconduct or actual fraud. Persons dealing or having any relationship with the
Plan Administrator shall have recourse only to the Wind Down Assets and shall look only to the
Wind Down Assets to satisfy any liability or other obligations incurred by the Plan Administrator
to such Person in carrying out the terms of the Plan, and the Plan Administrator shall not have any


                                                 31
             Case 23-10597-BLS          Doc 293       Filed 08/25/23    Page 33 of 60




personal obligation to satisfy any such liability. The Plan Administrator shall not be liable
whatsoever except for the performance of such duties and obligations as are specifically set forth
herein, and no implied covenants or obligations shall be read into the Plan against the Plan
Administrator. The Plan Administrator shall promptly pay expenses reasonably incurred by any
Plan Administrator Exculpation Party in defending, participating in, or settling any action,
proceeding or investigation in which such Plan Administrator Exculpation Party is a party or is
threatened to be made a party or otherwise is participating in connection with administering the
Wind Down Assets or the duties, acts or omissions of the Plan Administrator or otherwise in
connection with the affairs of the Plan Administrator, upon submission of invoices therefor,
whether in advance of the final disposition of such action, proceeding, or investigation or
otherwise. Each Plan Administrator Exculpation Party hereby undertakes, and the Plan
Administrator hereby accepts his or her undertaking, to repay any and all such amounts so
advanced if it shall ultimately be determined that such Exculpated Party is not entitled to be
indemnified therefor under the Plan. The foregoing indemnity in respect of any Plan Administrator
Exculpation Party shall survive the termination of such Plan Administrator Exculpation Party from
the capacity for which they are indemnified.

       11.     Full and Final Satisfaction Against Liquidation Trust.

        On and after the Effective Date, the Wind Down Entity shall have no liability on account
of any Claims or Equity Interests except as set forth herein. All payments and all Distributions
made by the Plan Administrator hereunder shall be in full and final satisfaction, settlement, and
release of and in exchange for all Claims against, or Interests in, the Debtors or the Wind Down
Entity.

D.     Settlement of Claims After the Effective Date.

        In accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019, without
any further notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date,
the Plan Administrator may compromise and settle Claims against, and Interests in, the Debtors
and their Estates, and Causes of Action against other Entities.

E.     Sources of Consideration for Plan Distributions.

        The Debtors and the Wind Down Entity, as applicable, shall fund Distributions under this
Plan with the Assets of the Debtors or the Wind Down Entity that may become Cash or
Cryptocurrencies, including proceeds from the Estate Causes of Action other than the Avoidance
Actions released pursuant to Article IV.K. herein. Each Distribution and issuance referred to in
Article VI of the Plan shall be governed by the terms and conditions set forth herein applicable to
such Distribution or issuance and by the terms and conditions of the instruments or other
documents evidencing or relating to such Distribution or issuance, which terms and conditions
shall bind each Entity receiving such Distribution or issuance. The issuance, Distribution, or
authorization, of any securities in connection with the Plan will be exempt from SEC registration
to the fullest extent permitted by law, as described more fully in Article VI.E below.




                                                 32
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 34 of 60




F.     Cancellation of Certain Existing Securities and the DIP Loan Agreement.

        Except as otherwise provided in the Plan and except for Interests in BUS, on and after the
Effective Date, all notes, instruments, certificates, agreements, indentures, mortgages, security
documents, and other documents evidencing any Claims against any of the Debtors, and any
Interests in the Debtors other than BUS, shall be deemed canceled, surrendered, and discharged
without any need for further action or approval of the Bankruptcy Court or any Holder or other
person and the obligations of the Debtors or the Wind Down Entity, as applicable, thereunder or
in any way related thereto shall be deemed satisfied in full and discharged, and the counterparties
to any such documents or agreements shall be released from all duties thereunder, provided that
notwithstanding Confirmation or Consummation, any such document or agreement that governs
the rights of the Holder of a Claim shall continue in effect solely for purposes of: (1) allowing
Holders to receive Distributions under the Plan; (2) allowing creditors to enforce their rights,
claims, and interests vis-à-vis any parties other than the Debtors; and (3) preserving any rights of
any creditors to enforce any obligations owed to each of them under the Plan, and to appear in the
Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any other court, including, but
not limited, to enforce the respective obligations owed to such parties under the Plan. Any Interests
in BUS shall survive and continue to exist following the Effective Date as Interests in the Wind
Down Entity.

G.     Release of Liens.

       Except as otherwise expressly provided herein, on the Effective Date, all Liens on any
property of any Debtors shall automatically terminate, all property subject to such Liens shall be
automatically released, and all guarantees of any Debtors shall be automatically discharged and
released.

H.     Corporate Action.

        On the Effective Date, all actions contemplated under the Plan with respect to the Debtors
and the Wind Down Entity, as applicable, shall be deemed authorized and approved in all respects,
including, as applicable: (1) selection of, and the election or appointment (as applicable) of, the
Plan Administrator; (2) adoption of and entry into any employment agreements; (3) all transfers
of Assets that are to occur pursuant to the Plan; (4) the dissolution and wind down of the Debtors
and the Wind Down Entity; and (5) all other actions contemplated under the Plan (whether to occur
before, on, or after the Effective Date).

        All matters provided for herein involving the corporate structure of the Debtors or the Wind
Down Entity, as applicable, and any corporate action, authorization, or approval that would
otherwise be required by the Debtors or the Wind Down Entity, as applicable, in connection with
the Plan shall be deemed to have occurred or to have been obtained and shall be in effect as of the
Effective Date, without any requirement of further action, authorization, or approval by the
Bankruptcy Court, security holders, directors, managers, or officers of the Debtors, the Wind
Down Entity, or any other person.

       On or before the Effective Date, the appropriate officers of the Debtors shall be authorized
and directed to issue, execute, and deliver the agreements, documents, securities, and instruments,



                                                 33
             Case 23-10597-BLS          Doc 293       Filed 08/25/23    Page 35 of 60




and take such actions, contemplated under the Plan (or necessary or desirable to effect the
transactions contemplated under the Plan) in the name of and on behalf of the Debtors, and all such
documents shall be deemed ratified. The authorizations and approvals contemplated by this
Section shall be effective notwithstanding any requirements under non-bankruptcy law.

I.     Effectuating Documents; Further Transactions.

        On or after the Effective Date, the Debtors or the Wind Down Entity, as applicable, and
the Plan Administrator, officers, directors, agents and members thereof are authorized to and may
issue, execute, deliver, file, or record such contracts, securities, instruments, releases, and other
agreements or documents and take such actions as may be necessary or appropriate to effectuate,
implement, and further evidence the terms and conditions of the Plan, without the need for any
approvals, authorizations, notice, or consents, except for those expressly required pursuant to the
Plan.

J.     Section 1146 Exemption.

        Pursuant to, and to the fullest extent permitted by, section 1146 of the Bankruptcy Code,
any transfers of property pursuant to, in contemplation of, or in connection with, the Plan,
including: (1) the transfer, if any, of the Wind Down Assets to the Wind Down Entity; (2) the
issuance of any beneficial interests in the Wind Down Entity; and (3) the delivery of any deed or
other instrument or transfer order, in furtherance of, or in connection with the Plan, including any
deeds, bills of sale, or assignments executed in connection with any disposition or transfer of assets
in connection with, arising out of, contemplated by, or in any way related to the Plan, shall, in each
case, not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, stamp act, real estate transfer, mortgage recording tax, or other similar
tax, and upon entry of the Confirmation Order, the appropriate state or local governmental officials
or agents shall forego the collection of any such tax or governmental assessment and accept for
filing and recordation any of the foregoing instruments or other documents pursuant to such
transfers or property without the payment of any such tax, recordation fee, or governmental
assessment.

K.     Preservation of Causes of Action.

        In accordance with section 1123(b) of the Bankruptcy Code, the Debtors shall assign to the
Wind Down Entity and the Wind Down Entity shall retain and may enforce all rights to commence
and pursue any and all Causes of Action belonging to the Debtors, whether arising before or after
the Petition Date, including, without limitation, any actions specifically enumerated in the
Schedule of Retained Causes of Action, and the Plan Administrator’s rights to commence,
prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of
the Effective Date, other than the Causes of Action released by the Debtors pursuant to the releases
and exculpations set forth in Article VIII of the Plan, which shall be deemed released and waived
by the Debtors and the Wind Down Entity as of the Effective Date.

       The Plan Administrator may pursue such Causes of Action, as appropriate, in accordance
with the Plan. No Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement, the Disclosure Statement, or the Schedule of Retained Causes of Action to any Cause



                                                 34
             Case 23-10597-BLS          Doc 293       Filed 08/25/23    Page 36 of 60




of Action against it as any indication that the Debtors or the Plan Administrator will not pursue
any and all available Causes of Action of the Debtors against it. The Debtors, the Wind Down
Entity, and the Plan Administrator expressly reserve all rights to prosecute any and all Causes of
Action against any Entity, except as otherwise provided in the Plan, including Article VIII of the
Plan. Unless any Cause of Action of the Debtors against an Entity is expressly waived,
relinquished, exculpated, released, compromised, or settled in the Plan or pursuant to a Final Order,
the Debtors and the Plan Administrator expressly reserve all such Causes of Action for later
adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise),
or laches, shall apply to such Causes of Action upon, after, or as a consequence of Confirmation
or Consummation.

         The Plan Administrator shall retain such Causes of Action of the Debtors notwithstanding
the rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11
Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any
Cause of Action that a Debtor may hold against any Entity shall be transferred to and vest in the
Wind Down Entity, except as otherwise provided in the Plan, including Article VIII of the Plan.
The Wind Down Entity shall retain, and through its authorized agents or representatives, including
the Plan Administrator, shall have the exclusive right, authority, and discretion to determine and
to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
judgment, any such Causes of Action, or to decline to do any of the foregoing, without the consent
or approval of any third party or any further notice to or action, order, or approval of the
Bankruptcy Court.

       Notwithstanding anything to the contrary in the Plan, on the Effective Date, the Debtors,
on behalf of themselves and their Estates, shall release and waive any and all Avoidance Actions.

L.     Payment of Certain Fees.

       Without any further notice to or action, order, or approval of the Bankruptcy Court, the
Debtors, or the Wind Down Entity, as applicable, shall pay on the Effective Date any reasonable
and documented unpaid fees and expenses incurred on or before the Effective Date by all of the
attorneys, accountants, and other professionals, advisors, and consultants payable under the DIP
Order (which fees and expenses shall be paid pursuant to the terms of the DIP Order).

M.     Document Retention.

       On and after the Effective Date, the Plan Administrator may maintain or dispose of
documents, as the Plan Administrator deems appropriate in the Plan Administrator’s reasonable
business judgment.

N.     Closing of Chapter 11 Cases.

       After an Estate has been fully administered, the Plan Administrator shall seek authority
from the Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance with the
Bankruptcy Code and Bankruptcy Rules.




                                                 35
             Case 23-10597-BLS         Doc 293       Filed 08/25/23   Page 37 of 60




O.     Notice of Effective Date.

        As soon as practicable, but not later than three (3) Business Days following the Effective
Date, the Debtors shall file a notice of the occurrence of the Effective Date with the Bankruptcy
Court.

P.     Separability.

        Notwithstanding the combination of the separate plans of liquidation for the Debtors set
forth in the Plan for purposes of economy and efficiency, the Plan constitutes a separate chapter
11 plan for each Debtor. Accordingly, if the Bankruptcy Court does not confirm the Plan with
respect to one or more Debtors, it may still, subject to the consent of the applicable Debtors,
confirm the Plan with respect to any other Debtor that satisfies the confirmation requirements of
section 1129 of the Bankruptcy Code.

                           ARTICLE V.
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.     Rejection of Executory Contracts and Unexpired Leases.

        As of and subject to the occurrence of the Effective Date, all executory contracts and
unexpired leases to which any of the Debtors are parties shall be deemed rejected, unless such
contract or lease: (i) was previously assumed or rejected by the Debtors pursuant to an order of the
Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms or by agreement
of the parties thereto; (iii) is the subject of a motion to assume filed by the Debtors on or before
the Confirmation Date; or (iv) is identified for assumption on the Assumption Schedule included
in the Plan Supplement.

        Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the
Bankruptcy Court shall constitute approval of the assumptions, assumptions and assignments, or
rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the Bankruptcy Code
and a determination by the Bankruptcy Court that the Wind Down Entity has provided adequate
assurance of future performance under such assumed executory contracts and unexpired leases.
Each executory contract and unexpired lease assumed or assumed and assigned pursuant to the
Plan shall vest in and be fully enforceable by the Plan Administrator, in accordance with its terms,
except as modified by the provisions of the Plan, any order of the Bankruptcy Court authorizing
and providing for its assumption, or applicable law.

B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases.

        Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
with respect to Claims arising from the rejection of executory contracts or unexpired leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed within thirty (30) days after
the later of: (1) the date of entry of an order of the Bankruptcy Court (including the Confirmation
Order) approving such rejection; and (2) the effective date of such rejection. Any Claims arising
from the rejection of an executory contract or unexpired lease not Filed within such time will be
automatically Disallowed, forever barred from assertion, and shall not be enforceable against the



                                                36
             Case 23-10597-BLS          Doc 293       Filed 08/25/23    Page 38 of 60




Debtors, the Wind Down Entity, the Estates, or their property without the need for any objection
by the Debtors or the Plan Administrator or further notice to, or action, order, or approval of the
Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of the executory
contract or unexpired lease shall be deemed fully satisfied, released, and discharged,
notwithstanding anything in the Schedules or a Proof of Claim to the contrary. All Allowed Claims
arising from the rejection of the Debtors’ executory contracts or unexpired leases shall be classified
as GUC Claims and shall be treated in accordance with the Plan, unless a different security or
priority is otherwise asserted in such Proof of Claim and Allowed in accordance with Article VII
of the Plan.

C.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

        Any monetary defaults under each assumed executory contract or unexpired lease shall be
satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount
in Cash on the Effective Date, or as soon as reasonably practicable thereafter, subject to the
limitation described below, or on such other terms as the parties to such executory contracts or
unexpired leases may otherwise agree. In the event of a dispute regarding (1) the amount of any
payments to cure such a default, (2) the ability of the Debtors or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
under the executory contract or unexpired lease to be assumed, or (3) any other matter pertaining
to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code shall be
made following the entry of a Final Order resolving the dispute and approving the assumption.

        Any objection by a contract or lease counterparty to a proposed assumption (including, for
purposes of the Plan, assumption and assignment) of an executory contract or unexpired lease or
the related cure cost (including as set forth on the Assumption Schedule) must be Filed, served,
and actually received by the Debtors in accordance with the Disclosure Statement Order or other
applicable Final Order of the Bankruptcy Court. Any counterparty to an executory contract or
unexpired lease that fails to object timely to the proposed assumption or cure amount will be
deemed to have consented to such assumption and the proposed cure amount. For the avoidance
of doubt, to the extent an executory contract or unexpired lease proposed to be assumed is not
listed as having a related cure cost, any counterparty to such executory contract or unexpired lease
that fails to object timely to the proposed assumption will be deemed to have consented to such
assumption and deemed to release any Claim or Cause of Action for any monetary defaults,
including any cure payment, under such executory contract or unexpired lease.

        Assumption of any executory contract or unexpired lease shall result in the full release and
satisfaction of any Claims or defaults, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-
related defaults, arising under any assumed executory contract or unexpired lease at any time
before the effective date of assumption. Any Proofs of Claim Filed with respect to an assumed
executory contract or unexpired lease shall be deemed Disallowed, without further notice to or
action, order, or approval of the Bankruptcy Court.




                                                 37
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 39 of 60




D.     Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases.

       Rejection of any executory contract or unexpired lease pursuant to the Plan or otherwise
shall not constitute a termination of preexisting obligations owed by the executory contract or
unexpired lease counterparty or counterparties to the Debtors or the Wind Down Entity, as
applicable, under such executory contracts or unexpired leases.

E.     Indemnification Obligations.

        Any obligations of the Debtors pursuant to a contract, instrument, agreement, certificate of
incorporation, by-law, comparable organizational document or any other document or applicable
law, to indemnify, reimburse, or limit the liability of any director, officer, or employee of the
Debtors, pursuant to the foregoing in respect of any claims, demands, suits, causes of action, or
proceedings against such director, officer, or employee based upon any act or omission related to
such director or officer’s service with, for, or on behalf of the Debtors prior to the Effective Date
with respect to all present and future actions, suits, and proceedings relating to the Debtors shall
survive Confirmation of the Plan and except as set forth herein, remain unaffected thereby, and
shall not be discharged, irrespective of whether such defense, indemnification, reimbursement, or
limitation of liability accrued or is owed in connection with an occurrence before or after the
Petition Date; provided, however, that all monetary obligations under this provision shall be (a)
limited solely to available insurance coverage, and (b) to the extent such Claims are not covered
by any applicable insurance, including deductibles, shall be treated as Allowed GUC Claims. Any
Claim based on the Debtors’ indemnification obligations shall not be a Disputed Claim or subject
to any objection under Bankruptcy Code section 502(e)(1)(B). For the avoidance of doubt, the
scope of the Debtors’ indemnification obligations in this Section shall be conterminous with
applicable non-bankruptcy law and to the extent provided by such law.

F.     Insurance Policies.

        Notwithstanding anything to the contrary in the Plan, the Plan Supplement, any bar date
notice, or claim objection, and any other document related to any of the foregoing, and any other
order of the Bankruptcy Court, on the Effective Date: (a) all insurance policies issued or providing
coverage to the Debtors shall (subject to the applicable insurer’s right to object to such a
designation) be assumed in their entirety by the Debtors pursuant to sections 365 and 1123 of the
Bankruptcy Code, and coverage for defense costs and indemnification under the D&O Policies
shall remain available to all individuals within the definition of “Insured” in the D&O Policies,
and the Wind Down Entity shall remain liable in full for any and all now existing or hereinafter
arising obligations, liabilities, terms, provisions and covenants of any of the Debtors under such
insurance policies, without the need or requirement for an insurer to file a Proof of Claim,
Administrative Expense Claim or objection to any cure amount; (b) nothing shall alter or modify
the terms and conditions of and/or any rights, obligations, benefits, claims, rights to payments, or
recoveries under the insurance policies without the express written consent of the applicable
insurer; and (c) the automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth
in the Plan, if and to the extent applicable, shall be deemed lifted without further order of this
Court, solely to permit: (i) claimants with valid workers’ compensation claims or direct action
claims against an insurer under applicable nonbankruptcy law to proceed with their claims; (ii)
insurers to administer, handle, defend, settle, and/or pay, in the ordinary course of business and


                                                 38
              Case 23-10597-BLS          Doc 293        Filed 08/25/23     Page 40 of 60




without further order of the Bankruptcy Court, (I) workers’ compensation claims, (II) claims where
a claimant asserts a direct claim against any insurer under applicable non-bankruptcy law, or an
order has been entered by the Bankruptcy Court granting a claimant relief from the automatic stay
to proceed with its claim, and (III) all costs in relation to each of the foregoing; (iii) the insurers to
cancel any insurance policies, and take other actions relating thereto, to the extent permissible
under applicable non-bankruptcy law, and in accordance with the terms of the insurance policies;
and (iv) holders of Allowed Claims to pursue insurance recovery to the extent allowed or required
by this Plan.

G.      Modifications, Amendments, Supplements, Restatements, or Other Agreements.

        Unless otherwise provided in the Plan, each executory contract or unexpired lease that is
assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such executory contract or unexpired lease, and all executory
contracts and unexpired leases related thereto, if any, including all easements, licenses, permits,
rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any of
the foregoing agreements have been previously rejected or repudiated or are rejected or repudiated
under the Plan.

        Unless otherwise provided herein or in the applicable executory contract or unexpired lease
(as may have been amended, modified, supplemented, or restated), modifications, amendments,
supplements, and restatements to pre-petition executory contracts and unexpired leases that have
been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the pre-
petition nature of the executory contract or unexpired lease, or the validity, priority, or amount of
any Claims that may arise in connection therewith.

H.      Reservation of Rights.

        Neither the exclusion nor inclusion of any executory contract or unexpired lease on the
Assumption Schedule, nor anything contained in the Plan, shall constitute an admission by the
Debtors that any such contract or lease is in fact an executory contract or unexpired lease or that
any of the Debtors or the Plan Administrator has any liability thereunder. If there is a dispute
regarding whether a contract or lease is or was executory or unexpired at the time of assumption
or rejection, the Debtors or the Plan Administrator, as applicable, shall have thirty (30) days
following entry of a Final Order resolving such dispute to alter the treatment of such contract or
lease.

I.      Nonoccurrence of Effective Date.

        In the event that the Effective Date does not occur with respect to a Debtor, the Bankruptcy
Court shall retain jurisdiction with respect to any request to extend the deadline for assuming or
rejecting unexpired leases with respect to such Debtor pursuant to section 365(d)(4) of the
Bankruptcy Code, unless such deadline(s) have expired.




                                                   39
             Case 23-10597-BLS          Doc 293       Filed 08/25/23    Page 41 of 60




                                   ARTICLE VI.
                       PROVISIONS GOVERNING DISTRIBUTIONS

A.     Timing and Calculation of Amounts to Be Distributed.

       Unless otherwise provided in the Plan, on the Distribution Date (or if a Claim is not an
Allowed Claim on the Distribution Date, on the date that such Claim or Interest becomes an
Allowed Claim), each Holder of an Allowed Claim shall receive the full amount of the
Distributions that the Plan provides for such Allowed Claim in accordance with its priority and
Allowed amount.

       If and to the extent that there are Disputed Claims, Distributions on account of any such
Disputed Claims shall be made pursuant to the provisions set forth in Article VII of the Plan.

        To the extent any Distributions made in accordance with the Plan are subject to
disgorgement to the Plan Administrator, the Plan Administrator shall effectuate the Distribution
of such disgorged Distribution to the Holders of Allowed Claims entitled to such Distributions in
accordance with the Plan as soon as reasonably practicable. For the avoidance of doubt, to the
extent disgorgement of a Distribution made to a Holder of a Claim pursuant to the Plan is required,
such Holder shall be required to disgorge any Distribution but shall not be required to remit interest
on such Distribution.

        In the event that any payment or act under the Plan is required to be made or performed on
a date that is not a Business Day, then the making of such payment or the performance of such act
may be completed on the next succeeding Business Day, but shall be deemed to have been
completed as of the required date.

B.     Delivery of Distributions and Undeliverable or Unclaimed Distributions.

       1.      Record Date for Distribution.

        On the Distribution Record Date, the Claims Register shall be closed and any party
responsible for making Distributions shall instead be authorized and entitled to recognize only
those record Holders listed on the Claims Register as of the close of business on such Distribution
Record Date.

       2.      Delivery of Distributions.

        Except as otherwise provided herein, the Plan Administrator shall be authorized to make
Distributions to Holders of Allowed Claims and Allowed Interests as of the Distribution Record
Date at the Address for each such Holder as indicated on the Debtors’ records as of the date of any
such Distribution. Customer Distributions shall be initiated by the Customer using the Bittrex
platform. The manner of such Distributions shall be determined at the discretion of the Plan
Administrator, and the address for each Holder of an Allowed Claim or Allowed Interest shall be
deemed to be the address set forth in any Proof of Claim or Interest Filed by that Holder.




                                                 40
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 42 of 60




       3.      Delivery of Distributions to Holders of GUC Claims.

        The Debtors and the Plan Administrator, will, in their reasonable discretion, determine the
method for a timely Distribution of all Distributions to Holders of Allowed GUC Claims pursuant
to the Plan, provided that with respect to any GUC Claim that is Allowed as of the Effective Date,
Distributions paid in Cash from the proceeds of Cryptocurrencies shall occur no later than six
months after the Effective Date.

       4.      Minimum Distribution.

        No Cash payment of less than $100 shall be made to a Holder of an Allowed Claim on
account of such Allowed Claim; provided, however, that there will be no minimum amount with
respect to Customer Distributions, provided, further, however, that Customers will be required to
pay any fees charged by third parties in connection with the withdrawal of Cryptocurrencies,
provided, further, that with respect to the Defunct Crypto, there will be no Customer Distributions,
and, provided, further, the Debtors or the Plan Administrator will determine whether there is
sufficient Non-Economic Crypto to warrant distribution

       5.      Undeliverable Distributions and Unclaimed Property.

        In the event that any Distribution to any Holder is returned as undeliverable or in the event
that a Customer fails to initiate a Customer Distribution or comply with any Government
Regulation or provide any information that the Debtors believe, in consultation with regulatory
counsel, is required by the Debtors, no Distribution to such Holder shall be made unless and until
the Plan Administrator has determined the then-current address of such Holder and has received
all other required information, at which time such Distribution shall be made to such Holder
without interest; provided that such Distributions shall be deemed unclaimed property under
section 347(b) of the Bankruptcy Code at the expiration of six months from the date such
Distribution is returned as undeliverable or such Customer fails to complete a Customer
Distribution or comply with any Government Regulation or other information required by the
Debtors. After such date, all unclaimed property or interests in property shall revert to the Wind
Down Entity automatically and without need for a further order by the Bankruptcy Court
(notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property laws
to the contrary) for Distribution consistent with the Plan, and any claim of any Holder to such
property shall be fully discharged, released, and forever barred.

       For the avoidance of doubt, the Plan Administrator and its respective agents and attorneys
are under no duty to take any action to attempt to locate any Claim Holder.

C.     Special Rules for Distributions to Holders of Disputed Claims and Interests.

        Except as otherwise provided in the Plan, agreed to by the Debtors or the Wind Down
Entity, or set forth in an order of the Bankruptcy Court: (a) no partial payments and no partial
Distributions shall be made with respect to a Disputed Claim or Interest until all such disputes in
connection with such Disputed Claim or Interest have been resolved by settlement or Final Order;
provided that if a portion of a Claim is not Disputed, the Debtors or the Plan Administrator may
make a partial Distribution based on such portion of such Claim that is not Disputed; and (b) any
Entity that holds both an Allowed Claim or Interest and a Disputed Claim or Interest shall not


                                                 41
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 43 of 60




receive any Distribution on the Allowed Claim or Interest unless and until all objections to the
Disputed Claim or Interest have been resolved by settlement or Final Order or the Claims or
Interests have been Allowed or Disallowed. Any dividends or other Distributions arising from
property distributed to Holders of Allowed Claims or Interests, as applicable, in a Class and paid
to such Holders under the Plan shall also be paid, in the applicable amounts, to any Holder of a
Disputed Claim or Interest, as applicable, in such Class that becomes an Allowed Claim or Interest
after the date or dates that such dividends or other Distributions were earlier paid to Holders of
Allowed Claims or Interests in such Class.

D.     Manner of Payment.

        Unless otherwise set forth herein, all Distributions under the Plan to the Holders of Allowed
Claims shall be made by the Debtors, the Wind Down Entity, or the Plan Administrator. At the
option of the Debtors, the Wind Down Entity, or the Plan Administrator, any Cash payment to be
made under the Plan may be made by check or wire transfer or as otherwise required or provided
in applicable agreements.

E.     Compliance with Tax Requirements.

        In connection with the Plan, as applicable, the Debtors and the Plan Administrator, as
applicable, shall comply with all tax withholding and tax reporting requirements imposed on them
by any Governmental Unit with respect to Distributions pursuant to the Plan. Notwithstanding
any provision herein to the contrary, the Debtors and the Plan Administrator, as applicable, shall
be authorized to take all actions necessary to comply with such tax withholding and tax reporting
requirements, including liquidating a portion of the Distribution to be made under the Plan to
generate sufficient funds to pay applicable withholding taxes, withholding Distributions pending
receipt of information necessary to facilitate such Distributions, and establishing any other
mechanisms they believe are reasonable and appropriate to comply with such requirements. The
Debtors and the Plan Administrator, as applicable, reserve the right to allocate all Distributions
made under the Plan in compliance with all applicable wage garnishments, alimony, child support,
and other spousal awards, Liens, and encumbrances.

F.     Setoffs and Recoupment.

        The Debtors or the Plan Administrator, as applicable, may, but shall not be required to,
setoff against or recoup any payments or Distributions to be made pursuant to the Plan in respect
of any Claims of any nature whatsoever that the Debtors or the Plan Administrator, as applicable
may have against the Holder of such Claim, but neither the failure to do so nor the allowance of
any Claim hereunder shall constitute a waiver or release by the Debtors or the Plan Administrator,
as applicable, of any such right it may have against the Holder of such Claim.




                                                 42
              Case 23-10597-BLS        Doc 293        Filed 08/25/23   Page 44 of 60




G.     No Double Payment of Claims.

        To the extent that a Claim is Allowed against more than one Debtor’s Estate, there shall be
only a single recovery on account of that Allowed Claim, but the Holder of an Allowed Claim
against more than one Debtor may recover Distributions from all co-obligor Debtors’ Estates until
the Holder has received payment in full on the Allowed Claims. No Holder of an Allowed Claim
shall be entitled to receive more than payment in full of its Allowed Claim, and each Claim shall
be administered and treated in the manner provided by the Plan only until payment in full on that
Allowed Claim.

H.     Claims Paid or Payable by Third Parties.

         1.    Claims Paid by Third Parties.

        The Debtors and the Plan Administrator shall reduce a Claim, and such Claim shall be
deemed Disallowed without a Claims objection having to be Filed and without any further notice
to or action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim
receives payment on account of such Claim from a party that is not a Debtor or the Plan
Administrator. Subject to the penultimate sentence of this paragraph, to the extent a Holder of a
Claim receives a Distribution on account of such Claim and receives payment from a party that is
not a Debtor or the Plan Administrator on account of such Claim, such Holder shall, within
fourteen (14) days of receipt thereof, repay or return the Distribution to the Wind Down Entity, to
the extent the Holder’s total recovery on account of such Claim from the third party and under the
Plan exceeds the amount of such Claim as of the date of any such Distribution under the Plan. The
failure of such Holder to timely repay or return such Distribution shall result in the Holder owing
the Wind Down Entity annualized interest at the Federal Judgment Rate on such amount owed for
each Business Day after the 14-day period specified above until the amount is repaid.

         2.    Claims Payable by Third Parties.

        Except as otherwise provided for in the Plan, no Distributions under the Plan shall be made
on account of a Claim that is payable pursuant to one of the Debtors’ Insurance Policies until the
Holder of such a Claim has exhausted all remedies with respect to such Insurance Policy. To the
extent that one or more of the Debtors’ Insurers agrees to satisfy in full or in part a Claim (if and
to the extent adjudicated by a court of competent jurisdiction or otherwise settled), then
immediately upon such Insurers’ agreement, the applicable portion of such Claim may be
Disallowed without a Claims objection having to be Filed and without any further notice to or
action, order, or approval of the Bankruptcy Court.

         3.    Applicability of Insurance Policies.

        Except as otherwise provided in the Plan, any Distributions of insurance proceeds to
Holders of Allowed Claims covered by Insurance Policies shall be in accordance with the
provisions of any applicable Insurance Policy. Except as otherwise provided in the Plan, the Plan
shall not otherwise constitute or be deemed a waiver of any Cause of Action that the Debtors or
any Entity may hold against any other Entity, including Insurers under any Insurance Policies, nor
shall anything contained herein (a) constitute or be deemed a waiver by such Insurers of any rights



                                                 43
             Case 23-10597-BLS        Doc 293         Filed 08/25/23   Page 45 of 60




or defenses, including coverage defenses, held by such Insurers, or (b) establish, determine, or
otherwise imply any liability or obligation, including any coverage obligation, of any Insurer.

I.     Allocation of Distributions Between Principal and Interest.

        For Distributions in respect of Allowed Claims, to the extent that any such Allowed Claim
entitled to a Distribution under the Plan is comprised of indebtedness and accrued but unpaid
interest thereon, such Distribution shall be allocated to the principal amount (as determined for
U.S. federal income tax purposes) of the Claim first, and then to accrued but unpaid interest.

                                 ARTICLE VII.
                    PROCEDURES FOR RESOLVING CONTINGENT,
                      UNLIQUIDATED, AND DISPUTED CLAIMS

A.     Allowance of Claims.

        Except as otherwise set forth in the Plan, after the Effective Date, the Wind Down Entity
shall have and retain any and all rights and defenses the applicable Debtor had with respect to any
Claim immediately before the Effective Date. Except as specifically provided in the Plan or in
any order entered in the Chapter 11 Cases before the Effective Date (including the Confirmation
Order), no Claim shall become an Allowed Claim unless and until such Claim is deemed Allowed
in accordance with the Plan.

B.     Claims Administration Responsibilities.

        Except as otherwise specifically provided in the Plan, and subject to the rights and duties
of the Plan Administrator as set forth herein, after the Effective Date, (a) the Plan Administrator
shall have the sole authority to File, withdraw, or litigate to judgment, objections to all Claims;
and (b) the Plan Administrator shall have the authority to settle or compromise any Disputed Claim
without any further notice to or action, order, or approval by the Bankruptcy Court; and (c) the
Plan Administrator shall have the authority to administer and adjust the Claims Register to reflect
any such settlements or compromises without any further notice to or action, order, or approval by
the Bankruptcy Court.

C.     Adjustment to Claims Without Objection.

        Any Claim that has been paid or satisfied, or any Claim that has been amended or
superseded, may be adjusted on the Claims Register by the Plan Administrator without a Claims
objection having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.

D.     Time to File Objections to Claims or Interests.

       Any objections or challenges to Claims or Interests shall be Filed on or before the
applicable Claims Objection Deadline.




                                                 44
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 46 of 60




E.     Estimation of Claims.

        Before or after the Effective Date, the Debtors or the Plan Administrator may (but are not
required to) at any time request that the Bankruptcy Court estimate any Disputed Claim that is
contingent, unliquidated, or arises from a right to an equitable remedy for breach of performance
pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party
previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. § 1334 to estimate
any such Claim, including during the litigation of any objection to any Claim or during the appeal
relating to such objection. Notwithstanding any provision to the contrary in the Plan, a Claim that
has been Disallowed or expunged from the Claims Register, but that either is subject to appeal or
has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless
otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any
contingent or unliquidated Claim, that estimated amount shall constitute a maximum limitation on
such Claim for all purposes under the Plan (including for purposes of Distributions), and the Plan
Administrator may elect to pursue any supplemental proceedings to object to any ultimate
Distribution on such Claim.

        Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of a
Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
entitled to seek reconsideration of such estimation unless such Holder has Filed a motion
requesting the right to seek such reconsideration on or before seven (7) days after the date on which
such Claim is estimated and the Bankruptcy Court grants such reconsideration. Each of the
foregoing Claims and objection, estimation, and resolution procedures are cumulative and not
exclusive of one another. Claims may be estimated and subsequently compromised, settled,
withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

F.     Disputed and Contingent Claims Reserve.

        On or after the Effective Date, the Wind Down Entity and the Plan Administrator shall
establish one or more reserves for Claims that are contingent or have not yet been Allowed, in an
amount or amounts as reasonably determined by the Wind Down Entity and Plan Administrator,
consistent with the Proof of Claim Filed by the applicable Holder of such Disputed Claim.

        Any assets held in any such reserve shall be subject to the tax rules that apply to “disputed
ownership funds” under 26 C.F.R. 1.468B–9. As such, such assets will be subject to entity-level
taxation, and the Debtors and Plan Administrator shall be required to comply with the relevant
rules.

G.     Disallowance of Claims.

        Any Claims held by Entities from which the Bankruptcy Court has determined that
property is recoverable under section 542, 543, 547, 548, 549, 550, or 553 of the Bankruptcy Code
or that is a transferee of a transfer that the Bankruptcy Court has determined is avoidable under
section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be deemed
Disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Claims may
not receive any Distributions on account of such Claims until such time as such Causes of Action



                                                 45
             Case 23-10597-BLS          Doc 293      Filed 08/25/23   Page 47 of 60




against that Entity have been settled or a Bankruptcy Court order with respect thereto has been
entered and the full amount of such obligation to the Debtors has been paid or turned over in full.

        All Proofs of Claim Filed on account of an Indemnification Obligation shall be deemed
satisfied and Disallowed as of the Effective Date to the extent such Indemnification Obligation is
assumed (or honored or reaffirmed, as the case may be) pursuant to the Plan, without any further
notice to or action, order, or approval of the Bankruptcy Court. All Proofs of Claim Filed on
account of an employee benefit shall be deemed satisfied and Disallowed as of the Effective Date
to the extent the Plan Administrator elects to honor such employee benefit, without any further
notice to or action, order, or approval of the Bankruptcy Court.

        Except as provided herein or otherwise agreed to by the Plan Administrator in its sole
discretion, any and all Proofs of Claim Filed after the Bar Date shall be deemed Disallowed as of
the Effective Date without any further notice to or action, order, or approval of the Bankruptcy
Court, and Holders of such Claims may not receive any Distributions on account of such Claims,
unless on or before the Confirmation Hearing such late Claim has been deemed timely Filed by a
Final Order.

H.     Amendments to Proofs of Claim.

       On or after the Effective Date, a Proof of Claim or Interest may not be Filed or amended
without the prior authorization of the Bankruptcy Court or the Plan Administrator, and any such
new or amended Proof of Claim or Interest Filed that is not so authorized before it is Filed shall
be deemed Disallowed in full without any further action.

I.     Reimbursement or Contribution.

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
contingent as of the time of allowance or disallowance, such Claim shall be forever Disallowed
notwithstanding section 502(j) of the Bankruptcy Code, unless before the Confirmation Date:
(1) such Claim has been adjudicated as non-contingent; or (2) the relevant Holder of a Claim has
Filed a non-contingent Proof of Claim on account of such Claim and a Final Order has been entered
before the Confirmation Date determining such Claim as no longer contingent.

J.     No Distributions Pending Allowance.

        Except as otherwise set forth herein, if an objection to a Claim or portion thereof is Filed
as set forth in Article VII.C of the Plan, no payment or Distribution provided under the Plan shall
be made on account of such Disputed Claim or portion thereof unless and until such Disputed
Claim becomes an Allowed Claim.

K.     Distributions After Allowance.

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, Distributions
(if any) shall be made to the Holder of such Allowed Claim in accordance with the provisions of
the Plan. As soon as reasonably practicable after the date a Disputed Claim becomes Allowed, the
Plan Administrator shall provide to the Holder of such Claim the Distribution (if any) to which


                                                46
             Case 23-10597-BLS         Doc 293        Filed 08/25/23   Page 48 of 60




such Holder is entitled under the Plan, as of the Effective Date, without any interest, dividends, or
accruals to be paid on account of such Claim unless required under such order or judgment of the
Bankruptcy Court.

                              ARTICLE VIII.
      RELEASES, INJUNCTION, EXCULPATION, AND RELATED PROVISIONS

A.     Releases by the Debtors.

        As of the Effective Date, the Debtors, and each of their respective Affiliates, on behalf
of themselves and their respective Estates, including any successor to the Debtors or any
Estate representative appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy
Code, including the Plan Administrator, shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever released, and waived each Released Party from
any and all claims, interests, obligations, rights, suits, damages, Causes of Action, remedies,
and liabilities whatsoever (including any derivative claims asserted or that may be asserted
on behalf of any of the Debtors or their Estates), whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, the Debtors, the Chapter 11 Cases,
the Plan (including the Plan Supplement), the Disclosure Statement, the restructuring of
Claims or Interests in the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation of any of the foregoing or any contract, instrument, release, or other agreement
or document created or entered into in connection with any of the foregoing, the pursuit of
confirmation of the Plan, the solicitation of votes on the Plan, the pursuit of consummation
of the Effective Date, the administration and implementation of the Plan, including the
issuance or Distribution of securities pursuant to the Plan, the subject matter of or the
transactions or events giving rise to any Claim or Interest that is treated in the Plan, or the
Distribution of property under the Plan or any other related agreement, or upon any other
act or omission, transaction, agreement, event, or other occurrence taking place on or before
the Effective Date related or relating to the foregoing, except for Causes of Action arising
from an act or omission of a Released Party that is judicially determined in a Final Order to
have constituted actual fraud, gross negligence, criminal misconduct or willful misconduct.
Notwithstanding anything to the contrary in the foregoing, (i) the releases set forth above
shall not be construed as releasing any post-Effective Date obligations of any party or entity
under the Plan, or any document, instrument, or agreement (including those set forth in the
Plan Supplement) executed to implement the Plan and (ii) the releases by the Debtors set
forth above shall not impair any Estate Causes of Action against a non-Released Party.

B.     Releases by Holders of Claims and Interests.

        As of the Effective Date, except (a) for the right to enforce the Plan or (b) as otherwise
expressly provided in the Plan or in the Confirmation Order, to the fullest extent permissible
under applicable law, as such law may be extended or integrated after the date upon which
the Bankruptcy Court enters the Confirmation Order, on or after the Effective Date, each
Released Party shall be deemed expressly, conclusively, absolutely, unconditionally,
irrevocably and forever, released, and waived by each of the Releasing Parties from any and
all claims, interests, obligations, rights, suits, damages, Causes of Action, remedies, and


                                                 47
            Case 23-10597-BLS        Doc 293       Filed 08/25/23   Page 49 of 60




liabilities whatsoever (including any derivative claims asserted or that may be asserted on
behalf of any of the Debtors or their Estates), whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, the Debtors, the Chapter 11 Cases,
the Plan (including the Plan Supplement), the Disclosure Statement, the restructuring of
Claims or Interests in the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation of any of the foregoing or any contract, instrument, release, or other agreement
or document created or entered into in connection with any of the foregoing, the pursuit of
confirmation of the Plan, the solicitation of votes on the Plan, the pursuit of consummation
of the Effective Date, the administration and implementation of the Plan, including the
issuance or Distribution of securities pursuant to the Plan, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, or the
Distribution of property under the Plan or any other related agreement, or upon any other
act or omission, transaction, agreement, event, or other occurrence taking place on or before
the Effective Date related or relating to the foregoing, except for Causes of Action arising
from an act or omission of a Released Party that is judicially determined in a Final Order to
have constituted actual fraud, gross negligence, criminal misconduct or willful misconduct.
Notwithstanding anything to the contrary in the foregoing, the releases set forth above shall
not be construed as releasing any post-Effective Date obligations of any party or entity under
the Plan, or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan.

C.     Waiver of Statutory Limitations on Releases

      EACH RELEASING PARTY IN EACH OF THE RELEASES CONTAINED IN THE
PLAN EXPRESSLY ACKNOWLEDGES THAT ALTHOUGH ORDINARILY A GENERAL
RELEASE MAY NOT EXTEND TO CLAIMS WHICH THE RELEASING PARTY DOES NOT
KNOW OR SUSPECT TO EXIST IN HIS FAVOR, WHICH IF KNOWN BY IT MAY HAVE
MATERIALLY AFFECTED ITS SETTLEMENT WITH THE PARTY RELEASED, IT HAS
CAREFULLY CONSIDERED AND TAKEN INTO ACCOUNT IN DETERMINING TO
ENTER INTO THE ABOVE RELEASES THE POSSIBLE EXISTENCE OF SUCH
UNKNOWN LOSSES OR CLAIMS. WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, EACH RELEASING PARTY EXPRESSLY WAIVES ANY AND ALL RIGHTS
CONFERRED UPON IT BY ANY STATUTE OR RULE OF LAW WHICH PROVIDES THAT
A RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CLAIMANT DOES NOT
KNOW OR SUSPECT TO EXIST IN ITS FAVOR AT THE TIME OF EXECUTING THE
RELEASE, WHICH IF KNOWN BY IT MAY HAVE MATERIALLY AFFECTED ITS
SETTLEMENT WITH THE RELEASED PARTY, INCLUDING THE PROVISIONS OF
CALIFORNIA CIVIL CODE SECTION 1542. THE RELEASES CONTAINED IN SECTION
10 OF THE PLAN ARE EFFECTIVE REGARDLESS OF WHETHER THOSE RELEASED
MATTERS ARE PRESENTLY KNOWN, UNKNOWN, SUSPECTED OR UNSUSPECTED,
FORESEEN OR UNFORESEEN.

D.     Exculpation.

       To the maximum extent permitted by applicable law, no Exculpated Party shall have
or incur liability for, and each Exculpated Party is hereby exculpated from any liability in


                                              48
            Case 23-10597-BLS        Doc 293       Filed 08/25/23   Page 50 of 60




respect of any and all Claims, Interests, obligations, rights, suits, damages, Causes of Action,
remedies, and liabilities whatsoever, arising between the Petition Date and the Effective Date,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
equity, or otherwise, based on or relating to, or in any manner arising from, in whole or in
part, the Debtors, the Chapter 11 Cases, the Plan (including the Plan Supplement), the
Disclosure Statement, the restructuring of Claims or Interests in the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation of any of the foregoing or any contract,
instrument, release, or other agreement or document created or entered into in connection
with any of the foregoing, the pursuit of confirmation of the Plan, the solicitation of votes on
the Plan, the pursuit of consummation of the Effective Date, the administration and
implementation of the Plan, including the issuance or Distribution of securities (if any)
pursuant to the Plan, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated in the Plan, or the Distribution of property under the Plan
or any other related agreement including the Distribution of Cryptocurrencies to Customers,
except for Claims or Causes of Action arising from an act or omission that is judicially
determined in a Final Order to have constituted actual fraud, gross negligence, criminal
misconduct or willful misconduct , but in all respects, such Exculpated Parties shall be
entitled to reasonably rely upon any Order of the Bankruptcy Court or the advice of counsel
with respect to their duties and responsibilities.

        To the extent section 1125(e) of the Bankruptcy Code applies, the Exculpated Parties
have, and upon completion of the Plan, shall be deemed to have, participated in good faith
and in compliance with the applicable laws with regard to the solicitation of, and Distribution
of consideration pursuant to, the Plan and, therefore, are not, and on account of such
Distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such
Distributions made pursuant to the Plan. This exculpation shall be in addition to, and not in
limitation of, all other releases, indemnities, exculpations, and any other applicable laws,
rules, or regulations protecting such Exculpated Parties from liability. Notwithstanding
anything to the contrary in the foregoing, the exculpation set forth above shall not be
construed as exculpating any party or entity from its post-Effective Date obligations under
the Plan, or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan.

E.     Injunction.

       Upon entry of the Confirmation Order, all holders of Claims and Interests and other
parties in interest, along with their respective present or former employees, agents, officers,
directors, principals, and affiliates (“Enjoined Parties”), shall be enjoined from taking any
actions to interfere with the implementation or consummation of the Plan in relation to any
Claim extinguished, discharged, or released pursuant to the Plan.

       Except as expressly provided in the Plan, the Confirmation Order, or a separate order
of the Bankruptcy Court or as agreed to by the Debtors and a holder of a Claim against or
Interest in the Debtors, all Entities who have held, hold, or may hold Claims against or
Interests in the Debtors (whether proof of such Claims or Interests has been filed or not and
whether or not such Entities vote in favor of, against or abstain from voting on the Plan or


                                              49
            Case 23-10597-BLS         Doc 293       Filed 08/25/23   Page 51 of 60




are presumed to have accepted or deemed to have rejected the Plan) and other parties in
interest, along with their respective present or former employees, agents, officers, directors,
principals, and affiliates are permanently enjoined, on and after the Effective Date, solely
with respect to any Claims, Interests, and Causes of Action that will be or are treated by the
Plan from (i) commencing, conducting, or continuing in any manner, directly or indirectly,
any suit, action, or other proceeding of any kind (including, without limitation, any
proceeding in a judicial, arbitral, administrative or other forum) against or affecting the
Debtors or the Plan Administrator (“Protected Parties”), as applicable, or the property of
the Protected Parties, as applicable; (ii) enforcing, levying, attaching (including, without
limitation, any prejudgment attachment), collecting, or otherwise recovering by any manner
or means, whether directly or indirectly, any judgment, award, decree, or order against the
Protected Parties; or the property of the Protected Parties, as applicable; (iii) creating,
perfecting, or otherwise enforcing in any manner, directly or indirectly, any encumbrance
of any kind against the Protected Parties, or the property of the Protected Parties, as
applicable; (iv) asserting any right of setoff, directly or indirectly, against any obligation due
from the Protected Parties, as applicable, or against property or interests in property of the
Protected Parties, except as contemplated or Allowed by the Plan; and (v) acting or
proceeding in any manner, in any place whatsoever, that does not conform to or comply with
the provisions of the Plan.

        By accepting Distributions pursuant to the Plan, each holder of an Allowed Claim or
Interest extinguished, discharged, or released pursuant to the Plan will be deemed to have
affirmatively and specifically consented to be bound by the Plan, including, without
limitation, the injunctions set forth in this Section.

       The injunctions in this Section shall extend to any successors of the Protected Parties,
as applicable, and their respective property and interests in property.

       Notwithstanding the foregoing, nothing in this Section shall enjoin the assertion of a
defensive right of recoupment.

         Nothing in the Plan or Confirmation Order shall (1) enjoin, release, impair or
otherwise preclude the United States (i) from pursuing any criminal action or any police or
regulatory action, (ii) from pursuing any liability to the United States that is not a Claim,
(iii) from exercising any rights of setoff or recoupment subsequent to confirmation of the
Plan or any order granting substantive consolidation, and such rights are preserved, and (iv)
from pursuing any claim of the United States arising on or after the Confirmation Date; and
(2) grant the Debtors a discharge pursuant to section 1141(d) of the Bankruptcy Code.

         No Enjoined Party may commence or pursue a claim or cause of action of any kind
against any Protected Party that arose or arises from or is related to the Chapter 11 Cases,
the negotiation of the Plan, the administration of the Plan or property to be distributed under
the Plan, the wind down of the business of the Debtor, the administration of the Wind Down
Assets, or the transactions in furtherance of the foregoing without the Bankruptcy Court:
(i) first determining, after notice and a hearing, that such claim or cause of action represents
a colorable claim of any kind, including, but not limited to, negligence, bad faith, criminal
misconduct, willful misconduct, fraud, or gross negligence against a Protected Party; and


                                               50
             Case 23-10597-BLS           Doc 293       Filed 08/25/23   Page 52 of 60




(ii) specifically authorizing such Enjoined Party to bring such claim or cause of action
against any such Protected Party. The Bankruptcy Court will have sole and exclusive
jurisdiction to determine whether a claim or cause of action is colorable and, only to the
extent legally permissible and as provided for in ARTICLE XI, shall have jurisdiction to
adjudicate the underlying colorable claim or cause of action.

F.     Recoupment.

        In no event shall any Holder of Claims or Interests be entitled to recoup any Claim against
any claim, right, or Cause of Action of the Debtors or the Plan Administrator, as applicable, unless
such Holder actually has performed such recoupment and provided notice thereof in writing to the
Debtors on or before the Confirmation Date, notwithstanding any indication in any Proof of Claim
or Proof of Interest or otherwise that such Holder asserts, has, or intends to preserve any right of
recoupment.

G.     Binding Effect.

         On the Effective Date, except as otherwise provided herein to the contrary, and effective
as of the Effective Date, the Plan will bind, and will be deemed binding upon, all Holders of Claims
against and Interests in the Debtors, and such Holder’s respective successors and assigns, to the
maximum extent permissible by law, notwithstanding whether or not such Holder (1) will receive
any property or interest in property under the Plan, or (2) has filed a Proof of Claim or Interest in
the Chapter 11 Cases, or (3) failed to vote to accept or reject the Plan or affirmatively voted to
reject the Plan.

                                   ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONFIRMATION
                        AND CONSUMMATION OF THE PLAN

A.     Conditions Precedent to Confirmation

       It shall be a condition to Confirmation that the following shall have been satisfied or waived
pursuant to the provisions of Article IX.C of the Plan:

      1.     the Bankruptcy Court shall have entered the Disclosure Statement Order and the
Confirmation Order in a manner consistent in all material respects with the Plan; and

       2.      the Confirmation Order shall, among other things:

               (a)       decree that the provisions of the Confirmation Order and the Plan are
                         nonseverable and mutually dependent;

               (b)       authorize the Debtors and the Plan Administrator, as applicable, to take all
                         actions necessary to enter into, implement, and consummate the contracts,
                         instruments, releases, leases, indentures, and other agreements or
                         documents created in connection with the Plan;




                                                  51
             Case 23-10597-BLS          Doc 293        Filed 08/25/23   Page 53 of 60




               (c)     authorize the Debtors and the Plan Administrator, as applicable/necessary,
                       to enter into any agreements, transactions, and sales of property, as set forth
                       in the Plan Supplement with respect to the Debtors or the Plan
                       Administrator, as applicable;

               (d)     provide that, pursuant to section 1146 of the Bankruptcy Code, the
                       assignment or surrender of any lease or sublease, and the delivery of any
                       deed or other instrument or transfer order in furtherance of, or in connection
                       with, any transfers of property pursuant to the Plan, including any deeds,
                       mortgages, security interest filings, bills of sale, or assignments executed in
                       connection with any disposition or transfer of assets contemplated under the
                       Plan shall not be subject to transfer or recording taxes or fees to the extent
                       permissible under section 1146 of the Bankruptcy Code, and upon entry of
                       the Confirmation Order, the appropriate state or local governmental
                       officials or agents shall forgo the collection of any such tax or governmental
                       assessment and accept for filing and recordation any of the foregoing
                       instruments or other documents without the payment of any such tax,
                       recordation fee, or governmental assessment;

               (e)     authorize and approve the compromise and settlement set forth in the Plan;
                       and

               (f)     contain the release, injunction, and exculpation provisions contained in
                       Article VIII herein.

B.     Conditions Precedent to the Effective Date.

        It shall be a condition to the Effective Date that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article IX.C of the Plan:

       1.      the Bankruptcy Court shall have entered the Confirmation Order, the Confirmation
Date shall have occurred, and no stay of the Confirmation Order shall be in effect;

       2.       all agreements necessary to implement the Plan, shall have (i) been tendered for
delivery and (ii) been effected or executed by all Entities party thereto, and all conditions precedent
to the effectiveness of such documents and agreements shall have been satisfied or waived
pursuant to the terms of such documents or agreements; and

       3.       the documents contained in the Plan Supplement will contain terms and conditions
consistent in all material respects with this Plan;

C.     Waiver of Conditions.

      The conditions to Confirmation and Consummation set forth in this Article IX may be
waived by the Debtors and/or the Plan Administrator without notice, leave, or order of the
Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.




                                                  52
             Case 23-10597-BLS          Doc 293        Filed 08/25/23   Page 54 of 60




D.     Substantial Consummation.

        “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), with respect
to any of the Debtors, shall be deemed to occur on the Effective Date with respect to such Debtor.

E.     Effect of Failure of Conditions.

        If the Effective Date does not occur with respect to any of the Debtors, the Plan shall be
null and void in all respects with respect to such Debtor, and nothing contained in the Plan or the
Disclosure Statement shall: (1) constitute a waiver or release of any Claims by or Claims against
or Interests in such Debtors; (2) prejudice in any manner the rights of such Debtors, any Holders
of a Claim or Interest, or any other Entity; or (3) constitute an admission, acknowledgment, offer,
or undertaking by such Debtors, any Holders, or any other Entity in any respect.

                              ARTICLE X.
         MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.     Modification and Amendments.

        Subject to the limitations contained in the Plan, the Debtors reserve the right to modify the
Plan and seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit
votes on such modified Plan. Subject to certain restrictions and requirements set forth in section
1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications
set forth in the Plan, the Debtors expressly reserve their rights to alter, amend, or modify materially
the Plan, one or more times, after Confirmation, and, to the extent necessary, may initiate
proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect
or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of
the Plan.

B.     Effect of Confirmation on Modifications.

        Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan
since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and
do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

C.     Revocation or Withdrawal of Plan.

        The Debtors reserve the right to revoke or withdraw the Plan before the Confirmation Date.
If the Debtors revoke or withdraw the Plan, or if Confirmation and Consummation does not occur,
then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise embodied
in the Plan (including the fixing or limiting to an amount certain of any Claim or Interest or Class
of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired Leases
effectuated by the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release
of any Claims or Interests; (b) prejudice in any manner the rights of the Debtors or any other Entity,
including the Holders of Claims; or (c) constitute an admission, acknowledgement, offer, or
undertaking of any sort by the Debtors or any other Entity.


                                                  53
             Case 23-10597-BLS         Doc 293       Filed 08/25/23    Page 55 of 60




                                     ARTICLE XI.
                              RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over
all matters arising out of, or related to, the Chapter 11 Cases and the Plan pursuant to sections
105(a) and 1142 of the Bankruptcy Code to the extent provided under applicable law, including
jurisdiction to:

       1.      allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
Secured or Unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the Secured or Unsecured status, priority, amount, or Allowance of Claims or Interests;

       2.      decide and resolve all matters related to the granting and denying, in whole or in
part, of any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan;

        3.      resolve any matters related to: (a) the assumption, assumption and assignment, or
rejection of any executory contract or unexpired lease to which a Debtor is party or with respect
to which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Claims
arising therefrom, including Cure Claims pursuant to section 365 of the Bankruptcy Code; (b) any
potential contractual obligation under any executory contract or unexpired lease that is assumed;
and (c) any dispute regarding whether a contract or lease is or was executory or expired;

        4.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
litigated matters, and any other matters, and grant or deny any applications involving a Debtor that
may be pending on the Effective Date;

      5.      adjudicate, decide, or resolve any and all matters related to the Causes of Action
enumerated in the Schedule of Retained Causes of Action;

      6.     adjudicate, decide, or resolve any and all matters related to section 1141 of the
Bankruptcy Code;

       7.      enter and implement such orders as may be necessary to execute, implement, or
consummate the Plan and all contracts, instruments, releases, indentures, and other agreements or
documents created in connection with the Plan or the Disclosure Statement, including injunctions
or other actions as may be necessary to restrain interference by an Entity with Consummation or
enforcement of the Plan;

       8.      enter and enforce any order for the sale of property pursuant to sections 363, 1123,
or 1146(a) of the Bankruptcy Code;

       9.      adjudicate, decide, or resolve any and all matters related to the Plan;

       10.     resolve any cases, controversies, suits, disputes, Causes of Action, or any other
matters that may arise in connection with the Consummation, interpretation, or enforcement of the


                                                54
             Case 23-10597-BLS          Doc 293        Filed 08/25/23    Page 56 of 60




Plan, the Disclosure Statement, the Confirmation Order, or any Entity’s obligations incurred in
connection with the foregoing, including disputes arising under agreements, documents, or
instruments executed in connection with the Plan, the Disclosure Statement, or the Confirmation
Order;

        11.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the releases, injunctions, and other provisions contained in Article VIII of the Plan and enter
such orders as may be necessary to implement such releases, injunctions, and other provisions;

       12.     resolve any cases, controversies, suits, disputes, or Causes of Action relating to the
Distribution or the repayment or return of Distributions and the recovery of additional amounts
owed by the Holder of a Claim for amounts not timely repaid pursuant to Article VI.H.1 of the
Plan;

       13.     issue injunctions, enter and implement other orders, or take such other actions as
may be necessary or appropriate to restrain interference by or assess damages against any Entity
with regard to Consummation or enforcement of the Plan;

       14.   enter and implement such orders as are necessary if the Confirmation Order is for
any reason modified, stayed, reversed, revoked, or vacated;

       15.     enter an order or decree concluding or closing the Chapter 11 Cases;

        16.    adjudicate any and all disputes arising from or relating to Distributions under the
Plan or any of the transactions contemplated therein;

       17.     consider any modifications of the Plan, to cure any defect or omission, or to
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

       18.     determine requests for the payment of Claims and Interests entitled to priority
pursuant to section 507 of the Bankruptcy Code;

         19.     hear and determine matters concerning state, local, and federal taxes in accordance
with sections 346, 505, and 1146 of the Bankruptcy Code, including any request made under
section 505 of the Bankruptcy Code for the expedited determination of any unpaid liability of a
Debtor for any tax incurred during the administration of the Chapter 11 Cases, including any tax
liability arising from or relating to the Restructuring Transactions, for tax periods ending after the
Petition Date and through the closing of the Chapter 11 Cases;

        20.    hear and determine all disputes involving the existence, nature, or scope of the
release provisions set forth in the Plan, including any dispute relating to any liability arising out of
the termination of employment or the termination of any employee benefit program, regardless of
whether such termination occurred before or after the Effective Date;

        21.    except as otherwise limited herein, recover all assets of the Debtors and property of
the Estates, wherever located;




                                                  55
             Case 23-10597-BLS        Doc 293        Filed 08/25/23   Page 57 of 60




        22.    enforce all orders previously entered by the Bankruptcy Court and resolve any
issues not enumerated above related to any matters adjudicated in the Chapter 11 Cases; and

       23.     hear any other matter not inconsistent with the Bankruptcy Code.

Notwithstanding the foregoing, the Bankruptcy Court shall retain non-exclusive jurisdiction to
adjudicate, decide, or resolve any and all matters related to objections to Claims.

                                     ARTICLE XII.
                              MISCELLANEOUS PROVISIONS

A.     Immediate Binding Effect.

        Subject to Article I.B of the Plan, and notwithstanding Bankruptcy Rules 3020(e), 6004(h),
or 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan shall be
immediately effective and enforceable and deemed binding upon, as applicable, the Debtors, the
Wind Down Entity, the Plan Administrator, any and all Holders of Claims or Interests (irrespective
of whether such Claims or Interests are deemed to have accepted the Plan), all Entities that are
parties to or are subject to the settlements, compromises, releases, exculpations, and injunctions
described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor
parties to executory contracts and unexpired leases with the Debtors. All Claims and debts shall
be as fixed, adjusted, or compromised, as applicable, pursuant to the Plan regardless of whether
any Holder of a Claim or debt has voted on the Plan.

B.     Additional Documents.

        On or before the Effective Date, the Debtors may File with the Bankruptcy Court such
agreements and other documents as may be necessary or advisable to effectuate and further
evidence the terms and conditions of the Plan. The Debtors, the Plan Administrator, and all
Holders of Claims and Interests receiving Distributions pursuant to the Plan and all other parties
in interest shall, from time to time, prepare, execute, and deliver any agreements or documents and
take any other actions as may be necessary or advisable to effectuate the provisions and intent of
the Plan.

C.     Payment of Statutory Fees.

        All fees payable pursuant to section 1930(a) of the Judicial Code, including fees and
expenses payable to the U.S. Trustee, as determined by the Bankruptcy Court at a hearing pursuant
to section 1128 of the Bankruptcy Code, will be paid by the Plan Administrator for each quarter
(including any fraction thereof) until the applicable Chapter 11 Case is converted, dismissed, or
closed, whichever occurs first. All such fees due and payable prior to the Effective Date shall be
paid by the Debtors on the Effective Date. After the Effective Date, the Plan Administrator shall
pay any and all such fees when due and payable, and shall File with the Bankruptcy Court quarterly




                                                56
               Case 23-10597-BLS         Doc 293      Filed 08/25/23    Page 58 of 60




reports in a form reasonably acceptable to the U.S. Trustee, until the earliest of the date on which
the applicable Chapter 11 Case is converted, dismissed, or closed.

D.     Reservation of Rights.

        Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court enters the Confirmation Order. None of the Filing of the Plan, any statement or
provision contained in the Plan, or the taking of any action by any Debtor with respect to the Plan,
the Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an admission
or waiver of any rights of any Debtor or any other Entity with respect to the Holders of Claims or
Interests prior to the Effective Date.

E.     Successors and Assigns.

        The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor, assign,
Affiliate, officer, director, manager, agent, representative, attorney, beneficiaries, or guardian, if
any, of each Entity.

F.     Notices.

        All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be
deemed to have been duly given or made when actually delivered or, in the case of notice by
facsimile transmission, when received and telephonically confirmed, addressed as follows:

          1.    If to the Debtors, to:

                Bittrex, Inc.
                701 5th Avenue, Suite 4200
                Seattle, WA 98104

          2.    If to the Wind Down Entity:

                Bittrex, Inc.
                701 5th Avenue, Suite 4200
                Seattle, WA 98104

        After the Effective Date, the Plan Administrator shall have the authority to send a notice
to Entities that request to continue to receive documents pursuant to Bankruptcy Rule 2002, such
Entity must File a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After
the Effective Date, the Plan Administrator is authorized to limit the list of Entities receiving
documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed
requests.




                                                 57
             Case 23-10597-BLS          Doc 293        Filed 08/25/23   Page 59 of 60




G.     Term of Injunctions or Stays.

        Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until
the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
remain in full force and effect in accordance with their terms.

H.     Entire Agreement.

       Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

I.     Exhibits.

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan. After the exhibits and documents are Filed,
copies of such exhibits and documents shall be available upon written request to the Debtors’
counsel at the address above or by downloading such exhibits and documents from the Debtors’
restructuring website or the Bankruptcy Court’s website.

J.     Nonseverability of Plan Provisions.

        If, before Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or
unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan shall remain in full force and effect and shall in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as
applicable, as it may have been altered or interpreted in accordance with the foregoing, is: (1) valid
and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified
without the consent of the Debtors and/or the Plan Administrator; and (3) nonseverable and
mutually dependent.

K.     Votes Solicited in Good Faith.

       Upon entry of the Confirmation Order, the Debtors shall be deemed to have solicited votes
on the Plan in good faith and in compliance with the Bankruptcy Code, and pursuant to section
1125(e) of the Bankruptcy Code, the Debtors and each of their respective Affiliates, agents,
representatives, members, principals, shareholders, officers, directors, managers, employees,
advisors, and attorneys shall be deemed to have participated in good faith and in compliance with
the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold under
the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the


                                                  58
             Case 23-10597-BLS         Doc 293       Filed 08/25/23   Page 60 of 60




Plan Administrator shall have any liability for the violation of any applicable law (including the
Securities Act), rule, or regulation governing the solicitation of votes on the Plan or the offer,
issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous plan.

L.     Waiver or Estoppel.

       Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any
argument, including the right to argue that its Claim or Interest should be Allowed in a certain
amount, in a certain priority, Secured or not subordinated by virtue of an agreement made with the
Debtors or their counsel, or any other Entity, if such agreement was not disclosed in the Plan, the
Disclosure Statement, or papers Filed before the Confirmation Date.

M.     Closing of Chapter 11 Cases.

        Upon the occurrence of the Effective Date, the Plan Administrator shall be permitted to
close all of the Chapter 11 Cases except for the Chapter 11 Case of BUS, and all contested matters
and adversary proceedings relating to each of the Debtors, including objections to Claims, shall be
administered and heard in the Chapter 11 Case of BUS; provided that for purposes of sections 546
and 550 of the Bankruptcy Code, the Chapter 11 Cases shall be deemed to remain open until the
Chapter 11 Case of BUS has been closed.

       When all Disputed Claims have become Allowed or Disallowed and all remaining Cash
has been distributed in accordance with the Plan, the Plan Administrator shall seek authority from
the Bankruptcy Court to close the Chapter 11 Case of BUS in accordance with the Bankruptcy
Code and the Bankruptcy Rules.

N.     Creditor Default.

        On and after the Effective Date, any act or omission by a Holder of a Claim or an Interest
in contravention of the provisions of the Plan shall be deemed an event of default under the Plan.
Upon an event of default, the Plan Administrator may seek to hold the defaulting party in contempt
of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and costs in
remedying such default. Upon the finding of such a default by a creditor, the Bankruptcy Court
may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on
behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by
order of specific performance; (c) award judgment against such defaulting creditor in favor of the
Plan Administrator in an amount, including interest, to compensate the Wind Down Entity for the
damages caused by such default; and (d) make such other order as may be equitable that does not
materially alter the terms of the Plan.




                                                59
